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                                                                 SAFE DEPOSIT BOX INVENTORY


                ENVELOPE TITLE                                                               CONTENTS

CODE                        NAME                                                             DOCUMENT            ORIGINAL/COPY OUT RTB




RTB    RTB & DKB WILLS
RTB    RTB EMPLOYMENT AGREEMENT 2004
RTB    COMMUNITY PROPERTY PARTITIONS
RTB    BROCKMAN & SON PARTNERSHIP AGREEMENT
RTB    CASH
RTB    "SUBSTANTIAL AUTORITY" TIL LETTER
RTB    TIL DEDUCTIBILITY/5472 FILING OPINION LETTERS
RTB    TEXAS INS EXCISE TAX OPINION
RTB    TIL DEDUCTIBILITY/FRED JAMES OPINION LETTER
RTB    KEPKE OPINION LETTER ON IRS RESPONSE RE TIL
RTB    KEPKE OPINION LETTER RE TIL 2/15/2001
RTB    HOTROD TAX REP LETTERS/KEPKE OPINION
RTB    FRED S. JAMES OPINION LETTER
RTB    AA INSURANCE TAX ISSUES FOR AUDIT

RTB    SALES MANAGER GIFT FROM BLAND TO RTB FOUND.

RTB    ROB NALLEY PAPERS
RTB    NALLEY STOCK AGREEMENTS SYSTEMS HOLDINGS

RTB    NALLEY STOCK AGREEMENTS NETWORK HOLDINGS

RTB    KOJAK STOCK PURCHASE AGREEMENT NALLEY
RTB    CTL STOCK RECEIPTS FROM ROB NALLEY
RTB    UNIVERSAL COMP OPERATIONS INC STOCK CERT.
RTB    FAIRBANKS PROPERTIES STOCK CERT.
RTB    HARDWICKE PROPERTIES STOCK CERT.
RTB    UNIVERSAL COMP. GROUP INC STOCK CERT.
RTB    DAVID WILSON WILL & INSURANCE TRUST
RTB    PENSUM TREVIA
RTB    ENCRYPTION PATENT
RTB    DD JONES PC CONTRACT WITH CARLOS KEPKE
RTB    903 OAK VALLEY HOME SAVINGS RELEASE OF LIEN
RTB    ROSEFAIRE LICENCE AGREEMENT TO BROCKMAN
RTB    KEYS
RTB    PASSWORDS




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          SPECIAL TESTAMENTARY POWERS OF APPOINTMENT The Shetland Charitable Trust                                                                                                                                      O

                                                           The Inverness Charitable Trust                                                                                                                               O

                                                           The Lineage Charitable Trust II                                                                                                                              O

                                                           Aberdeen Charitable Trust                                                                                                                                    O



          LETTERS OF RESIGNATION/SHARE TRANSFERS           Aquitaine Letters Resigning as Protector or Replacing Trustee and Share Transfer

                                                           Appanage Letters Resigning as Protector or Replacing Trustee and Share Transfer

                                                           Paragon Letters Resigning as Protector or Replacing Trustee and Share Transfer



 RTB      VARIOUS 1980'S IRS-RELATED DOCUMENTS             corr19830419 Letter from Donald Jones to Gordon Howard re 1981 and 1982 AEBCT and AEBGCT Financial Reports (including reports)                               C
                                                           misc19821231 IRS Form 2952 Information Return re CFC Universal Computer Terminals Ltd                                                                        C
                                                           misc19821231 IRS Form 3646 Income from CFC Universal Computer Terminals Ltd                                                                                  C
                                                           corr19820310 Letter from Donald Jones to Al Thorpe re AEBCT and AEBGCT 1981 and 1982 Income                                                                  C
                                                           misc19820621 IRS Form 959 Return re Organisation of a Foreign Corporation                                                                                    C
                                                           corr19860805 Letter from IRS to Universal Computer Maintenance Inc re 1983 Tax Returns (multiple copies)                                                    O&C
                                                           corr19870513 Letter from IRS to Universal Computer Maintenance Inc re 1983 Tax Returns (multiple copies)                                                    O&C
                                                           corr19870108 Letter from IRS to Universal Computer Consulting Inc re 1984 Tax Returns (multiple copies)                                                     O&C
                                                           corr19860703 Letter from IRS to Universal Computer Maintenance Inc re 1984 Tax Returns (multiple copies)                                                    O&C
                                                           corr19900420 Letter from IRS to Universal Computer Maintenance Holding Inc re 1987 Tax Returns (2 copies)                                                   O&C


                                RTB BOX


RTB BOX   ENVELOPE 1 - NALLEY                              Various agreements and corespondence. Should carefully review as it appears some might not be in the system. Will need to scan some.
          ENVELOPE 2 - PARTNERSHIP WITH DON SAM            Bland Partnership Agreement - might already have it.
          ENVELOPE 3 - SAFE DEPOSIT BOX INVENTORIES        Grosvenor lists of documents. Handy checklists to ensure all documents are avaialable, but should be destroyed thereafter since information is outdated..
          ENVELOPE 4 - CASH POSITION                       Old information. Could be destroyed.
          ENVELOPE 5 - TRUST GENERAL                       Various trust precedents which can be destroyed. Ernest Morrison letters of advice to various Trustees could also be destroyed after review.
          ENVELOPE 6 - DON JONES                           Pay information and copy relevant agreements. Should be checked for anything we don't have. Scan key agreements and destroy.
          ENVELOPE 7 - POINT                               Need 2000 Audit. Destroy rest.
          ENVELOPE 8 - TIL
          ENVELOPE 9 - GORDON HOWARD                       Key correspondence between RTB and GH. Some of which is not in the system. Must be carefully reviewed with documents scanned.
          ENVELOPE 10 - HISTORY                            Contains some correspondence and corporate documents, which we might not have in the system. Must be carefully reviewed with documents scanned.
          ENVELOPE 11 - ROBERT SMITH OPTION                RS Option and Investor Rights Agreement. Also includes AEBCT Minutes 2006. Need Investor Rights Agreement.
          ENVELOPE 12 - KOJAK                              Kojak Holdings Financials. Scan and destroy or retain originals.
          ENVELOPE 13 - PETERS                             Peters Investments Ltd Financials. Scan and destroy or retain originals.
          ENVELOPE 14 - EDGE                               Edge Investments Financials. Some (2000 and 2001) already scanned. Need the rest. Check whether originals required.



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           ENVELOPE 15 - VEFIII                       Various documents. Probably have most, if not all. Review, scan any we do not have and then destroy.
           ENVELOPE 16 - BROOK VOGHT                  Some correspondence we should add. Scan and then destroy.
           ENVELOPE 17 - ROSEFAIRE SAM                Should add to system. Scan and destroy most save for patent.
           ENVELOPE 18 - CABOT                        Have all. Can be destroyed with original audit for 2004 added to original documents.
 RTB BOX   ENVELOPE 19 - CARLOS KEPKE                 Various commuications including opinions from 1981 to 1995. Need to scan.
 RTB BOX   ENVELOPE 20 - KEPKE 1995 - 2005            Various commuications including opinions from 1995 to 2005. Need to review for relevance and scan.
           ENVELOPE 21 - EVATT                        Performance reviews and some Cox Hallett Wilkinson opinions. Should scan the latter.
           ENVELOPE 22 - SCREEN                       Should have most of these documents. Check and destroy if in the system.
           ENVELOPE 23 - AEBCT                        Some documents are not in the system as they were weeded out of Grosvenor files before the scanning project. Review carefully and scan missing documents and then destroy.

           ENVELOPE 24 - CHECKS AND HISTORY           Review for checks and other documents which could be used as confirmation of money transactions. Probably worth keeping originals.
           LOOSE AND IN FOLDER                        Various documents and financials reports. Should scan as documents do not appear to have been in the system before.




AAAAGEN010 GENERAL AND MISCELLANEOUS                  misc20070605 Agreed Declaratory Judgment Between Robert Brockman and Ginger Gish                                                                                             C

                                                      msic20070911 DVD of Data Documents and Structure Diagrams                                                                                                                    O



AAEBCTX010 A. EUGENE BROCKMAN CHILDREN'S TRUST        trst19810526 A Eugene Brockman Children's Trust Deed                                                                                                                         O        RTB
                                                      misc19810521 Cashier's Check for original Settlement of Trust                                                                                                                O        RTB
                                                      misc19810521 Cashier's Check for original Settlement of Trust from Bank of Bermuda Microfilm                                                                                 C        RTB
                                                      misc19810824 IRS Form 3520 re Creation of Foreign Trust A Eugene Brockman (date difficult to read)                                                                           C        RTB
                                                      trst19931028 Order Royal Court of Guernsey re variation to Trust Deed (2 copies)                                                                                             C        RTB
                                                      corr19970416 Facsimile from Grosvenor to Bermuda Trust Co re Cashier's Checks including DJ email                                                                             C        RTB
                                                      trst19990416 Order Supreme Court of Belize re variation to Trust Deed (2 copies)                                                                                             C        RTB
                                                      trst20070329 AEBCT Trustee Resolutions re Dividend Paid by SSH LLC and Contribution to Forum Holdings                                                                        O
                                                      trst20070730 Minutes of the Meeting of the AEBCT Trustee                                                                                                                     O
                                                      trst20071201 AEBCT Trustee's Resolutions re Change of Trust Name                                                                                                             O
                                                      trst20071201 Certificate of AEBCT Trustee's Resolutions re Change of Trust Name                                                                                              O
                                                      misc19810000 Pearl Brockman Diary for the Year 1981                                                                                                                          O
                                                      misc19810529 Returned check on RTB Investment Account for Payment of Elbow Beach Bill may 1981                                                                               O
                                                      misc19821231 IRS Form 2952 Information Return re CFC Universal Computer Terminals Ltd                                                                                        C
                                                      misc19821231 IRS Form 3646 Income from CFC Universal Computer Terminals Ltd                                                                                                  C
                                                      trst20091231 AEBCT Minutes of Trustee's Meeting 2009 - Signed                                                                                                                O
                                                      trst20100105 St John's AEBCT Trustee's Resolution re SSH LLC Dividend and Payment to St John's                                                                               O




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AAEBCTX020 SPANISH STEPS HOLDINGS LLC            corp20050922 SSH LLC Certificate of Renewal                                                                                                    C
                                                 corp20070630 SSH LLC Member's Written Resolutions re Execution of New Operating Agreement and Various Matters                                  O
                                                 corp20070809 SSH LLC Manager's Resolutions re Dividend Payable to the AEBCT                                                                    O
                                                 corp20070329 Written Resolution of the Manager of SSH LLC re SSH Ltd Dividend and Forum Payment - Signed                                       O
                                                 rept20080725 SSH LLC Audited Financial Statements and Annual Report for Year Ended 31 December 2006                                            O
                                                 rept20060410 SSH LLC Signed Annual Report and Financial Statements for Year Ended 2002 (2 copies)                                              O
                                                 rept20060410 SSH LLC Signed Annual Report and Financial Statements for Year Ended 2003 (2 copies)                                              O
                                                 rept20060410 SSH LLC Signed Annual Report and Financial Statements for Year Ended 2004 (2 copies)                                              O
                                                 corp20080811 SSH LLC Certificate of Renewal 2007-2008                                                                                          O
                                                 corp20080813 SSH LLC Certificate of Renewal 2008-2009                                                                                          O
                                                 corp20100105 Written Resolutions of SSH Ltd Directors re Dividend to SSH LLC and Payment to St Johns for the AEBCT - Signed                    O


AAEBCTX030 SPANISH STEPS HOLDINGS LTD            agre20060627 VEFIII LP Manager's Closing Certificate re Stock Purchase Agreement
                                                 agre20060627 VEFIII LP Manager's Certificate re Performance Investments Authorised Officer                                                     O        RTB
                                                 agre20060627 Stock Purchase Agreement between SSH Ltd and VEFIII re UCSH Inc (2 originals)                                                     O        RTB
                                                 agre20061129 Option Agreement between SSH Ltd and Flash Holdings LLC                                                                           O        RTB
                                                 agre20061129 Option Agreement between SSH Ltd and Flash Holdings LLC                                                                           C        RTB
                                                 agre20061129 Investor Rights Agreement between SSH Ltd and Flash Holdings LLC                                                                  O        RTB
                                                 agre20061129 Investor Rights Agreement between SSH Ltd and Flash Holdings LLC                                                                  C        RTB
                                                 agre20060627 Stock Purchase Agreement between SSH Ltd and VEFIII re UCSH Inc Transaction Bundle                                                O        RTB
                                                 corp20070112 Written Resolutions of SSH Ltd Directors re Investment Through Butterfield Bank - Signed                                          O
                                                 corp20070223 Written Resolutions of SSH Ltd Directors re Investment Through Alternative Channels - Signed                                      O
                                                 corp20070225 Written Resolutions of SSH Ltd Directors re Incorporation in Rome and Contribution to That Company - Signed                       O
                                                 corp20070331 Written Resolutions of SSH Ltd Directors re Investment Through Charles Schwab - Signed                                            O
                                                 corp20070329 Written Resolutions of SSH Ltd Directors re Dividend to SSH LLC and Forum Capital Contribution to Rome Investments LLC - Signed   O
                                                 agre20080930 Deed of Conditional Assignment Between SSH Ltd and Lakewood Investments LLC - Signed and Sealed by All Parties (2 copies)         O
                                                 agre20080927 Deed of Termination Executed by Rob and Jerilyn Nalley re Termination of Various Agreements (2 copies)                            O
                                                 agre20080927 Executive Incentive Agreement Between SSH Ltd and Robert M Nalley - Signed by All Parties (2 copies)                              O
                                                 agre20090901 Amended and Restated Employment Agreement Between RTB and UCSH Inc - Signed by All Parties                                        C
                                                 corp20100105 Written Resolutions of SSH Ltd Directors re Dividend to SSH LLC and Payment to St Johns for the AEBCT - Signed                    O
                                                 agre20100420 Non Disclosure Agreement Between SSH Ltd and ABB Handels und Verwaltungs AG re Ventyx Sale - 2 copies                             O


AAEBCTX040 FORUM HOLDINGS LLC                    corp20070223 Original Membership Certificate No. 1 Issued to St. John's Trust Company                                                          O
                                                 corp20070630 Forum Holdings LLC Amended Operating Agreement Signed by St John's                                                                O
                                                 corp20070630 Forum Holdings LLC Member's Written Resolutions re Amended Operating Agreement and Various Matters                                O
                                                 corp20070329 Forum Holdings LLC Manager's Written Resolutions re Contribution from AEBCT and Investment in Rome                                O
                                                 corp20070723 Forum Holdings LLC Articles of Amendment to the Articles of Organization (3 copies)                                               O
                                                 corp20070630 Forum Holdings LLC Member's Written Resolutions re Change to Articles of Organization                                             O


AAEBCTX050 ROME INVESTMENTS LLC                  corp20070223 Original Rome Membership Certificate No. 1 Issued to SSH Ltd                                                                      O
                                                 corp20070223 Original Rome Membership Certificate No. 2 Issued to Forum Holdings LLC                                                           O


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                                                      corp20070227 Amended and Restated Operating Agreement for Rome Investments LLC                                                           O
                                                      rept20080930 Audited Financial Statements Prepared by Dan Jenkins for Rome Investments LLC as at December 31, 2007 - Signed (3 copies)   O
                                                      rept20090706 Audited Financial Statements Prepared by Dan Jenkins for Rome Investments LLC as at December 31, 2008 - Signed (3 copies)   O
                                                      rept20100325 Audited Financial Statements Prepared by Dan Jenkins for Rome Investments LLC as at December 31, 2009 - Signed (2 copies)   O
                                                      rept20110331 Audited Financial Statements Prepared by Dan Jenkins for Rome Investments LLC as at December 31, 2010 - Signed (2 copies)   O


AAEBGCT010 A. EUGENE BROCKMAN GRANDCHILDREN'S TRUST   trst19810526 A Eugene Brockman Grandchildren's Trust Deed                                                                                O        RTB
                                                      misc19810824 IRS Form 3520 re Creation of Foreign Trust A Eugene Brockman (date difficult to read)                                       C        RTB
                                                      trst19931028 A E Brockman Grandchildren's Trust Order of the Royal Court of Guernsey                                                     C        RTB
                                                      trst19931028 A E Brockman Grandchildren's Trust Application to the Royal Court of Guernsey                                               C        RTB
                                                      trst19810526 A Eugene Brockman Grandchildren's Trust Deed                                                                                C


ABELCOM010 THE COMPANION CHARITABLE TRUST             trst19980218 Declaration of Charitable Trust (2 copies)                                                                                  C        RTB
                                                      trst20070104 Deed of Appointment and Retirment with CIBC Replacing Cititrust                                                             O
                                                      rept20071231 Companion Unaudited Financial Statements for Year Ended 31 December 2007                                                    O
                                                      rept20071231 Companion Charotable Trust Unaudited Financial Statements for Year Ended 31 December 2007                                   O


ABELCOM020 REGENCY MANAGEMENT LTD                     corp19980211 Regency Certificate of Incorporation                                                                                        O
                                                      corp19980217 Regency By-Laws                                                                                                             O
                                                      corp19980211 Regency Articles of Incorporation                                                                                           O
                                                      corp19980211 Designation and Acceptance of Registered Agent                                                                              O
                                                      corp19980211 Regency Management Ltd Transfer of Subscription Rights - Original                                                           O
                                                      corp19980211 Regency Management Ltd Endorsement Certificate - Original                                                                   O
                                                      corp19980211 Copy Regency Bearer Share Certificate No.1                                                                                  C
                                                      corp20070630 Original Regency Management Ltd Share Certificate No. 2 Issued to Commerce-CIBC for Companion Trust                         O
                                                      corp20081023 Regency Management Ltd Certificate of Renewal 2009-2010                                                                     O


ABELCOM030 MOUNTAIN QUEEN INC


ABELEND010 THE ENDURANCE CHARITABLE TRUST             trst20030320 Original Endurance Trust Declaration                                                                                        O        RTB
                                                      trst20030320 Copy Endurance Trust Declaration                                                                                            C        RTB
                                                      agre20030731 Share Option Agreement between Endurance and Commitment re Performance (2 Originals)                                        O        RTB
                                                      agre20030613 Compensation Agreement between Performance and Robert Smith - Draft only                                                    C        RTB
                                                      trst20030000 Draft Endurance Trustee Memorandum                                                                                          C        RTB
                                                      trst20070104 Deed of Appointment and Retirment with CIBC Replacing Cititrust                                                             O
                                                      rept20071231 Endurance Unaudited Financial Statements for Year Ended 31 December 2007                                                    O
                                                      rept20071231 Endurance Charitable Trust Unaudited Financial Statements for Year Ended 31 December 2007                                   O


ABELEND020 PERFORMANCE INVESTMENTS LLC                corp20070106 Copy Performance Investments LLC Membership Certificate No. 2 Issued to CIBC (2 copies)                                     C
                                                      corp20030320 Original Performance Certificate of Ownership No. 1 issued to Endurance - Returned by CIBC 16.6.07                          O
                                                      corp20080310 Certificate of Renewal 2008-2009 for Performance                                                                            O


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                                                    corp20090112 Certificate of Renewal 2009-2010 for Performance                                                            O
                                                    corp20090121 Written Resolutions of Performance Investments LLC as Manager of VEFIII re Dissolution of VEFIII - Signed   O
                                                    corp20100108 Performance Investments LLC Certificate of Renewal 2010-2011                                                O


ABELHER010 THE HERITAGE CHARITABLE TRUST            trst19970807 The Heritage Trust Indenture (2 copies)                                                                     C        RTB
                                                    trst19930902 Deed of Release of Power of Distribution made by Tortrust                                                   C        RTB
                                                    corr19930902 Letter from Tortrust Corp to RTB re Deed of Release                                                         O        RTB
                                                    trst20020726 The Heritage Trust Memorandum No. 1                                                                         C        RTB
                                                    trst20061130 Deed of Retirement and Appointment - Gorry Replacing Cititrust Inc                                          O


ABELHER020 LEGEND INVESTMENTS LLC                   agre19971231 Consultant Agreement between Kojak and Financial Counselors                                                 O
                                                    agre20011231 Novation Agreement re Kojak and Financial Counselors Consultant Agreement                                   O
                                                    agre20020102 Consultant Agreement with Wedge Consulting                                                                  O
                                                    corp19971028 Articles of Organization                                                                                    O
                                                    corp19971028 Certificate of Formation                                                                                    O
                                                    corp19971028 Certificate of Good Standing                                                                                O
                                                    corp19971028 Endorsement Certificate re Incorporation Filings                                                            O
                                                    corp19971028 Manager's Resolutions on Incorporation 2                                                                    O
                                                    corp19971028 Manager's Resolutions on Incorporation                                                                      O
                                                    corp19971028 Nevis Trust Limited Acceptance as Registered Agent                                                          O
                                                    corp19971028 Operating Agreement                                                                                         O
                                                    corp19981111 Copy Share Certificate No. 5 Kojak Holdings Ltd                                                             C
                                                    corp19981111 Instrument of Share Transfer re Kojak Holdings Ltd                                                          C
                                                    corp19981111 Kojak Holdings Ltd Director's Resolution re transfer of Shares                                              C
                                                    corp20000316 Endorsement Certificate re Change of Name from Kojak Holdings LLC                                           O
                                                    corp20000316 Manager's Resolution re issue of Share Certificate                                                          O
                                                    corp20001220 Manager's Resolution re Power of Attorney                                                                   O
                                                    corp20001220 Power of Attorney in favour of Serco Management Ltd                                                         O
                                                    corp20010627 Certificate of Renewal                                                                                      O
                                                    corp20020605 Certificate of Renewal                                                                                      O
                                                    corp20030101 Director's Resolution revoking Power of Attorney                                                            O
                                                    corp20030924 Certificate of Renewal                                                                                      O
                                                    corp20031231 Director's Resolution re Bank Signatories with Signatory List                                               C
                                                    corp20031231 Director's Resolution re Bank Signatories                                                                   O
                                                    corp20050509 Legend Certificate of Renewal 2005                                                                          O
                                                    corp20061103 Legend Certificate of Renewal 2006                                                                          O
                                                    corp20070618 Legend Investments LLC Manager's Written Resolutions re Various Edge Transactions                           O
                                                    corp20070630 Legend Investments LLC Amended Operating Agreement (2 copies)                                               O
                                                    corp20070630 Legend Investments LLC Member's Written Resolutions re New Operating Agreement and Various Matters          O
                                                    corp20070630 Legend Investments LLC Membership Certificate No. 3 Issued to Gorry for the Heritage Trust                  O
                                                    corp20070630 Legend Investments LLC Register of Managers and Officers                                                    O


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                                                corp20070630 Legend Investments LLC Register of Members                                                                     O
                                                corp20070828 Legend Certificate of Renewal 2007-2008                                                                        O
                                                corp20080725 Legend Certificate of Renewal 2008-2009                                                                        O
                                                corp20090915 Legend Investments LLC Nevis Certificate of Renewal 2009-2010                                                  O


ABELHER030 TABBIN INVESTMENTS LLC               corp20050509 Tabbin Certificate of Renewal                                                                                  O


ABELPRO010 THE PROVIDENT CHARITABLE TRUST       trst19971016 The Provident Trust Indenture (2 copies)                                                                       C        RTB
                                                corr19971105 Letter from Carlos Kepke to DJ enclosing Trust Deed                                                            C        RTB
                                                trst20020726 The Provident Trust Memorandum No. 1                                                                           C        RTB
                                                trst20061130 Deed of Retirement and Appointment - Chelsea Replacing Cititrust Inc                                           O
                                                trst20070527 Provident Charitable Trust Trustee's Resolutions re Providian and Prime Closures                               O


ABELPRO020 PRIME HOLDINGS LLC                   corp20061012 Prime Holdings LLC Certificate of Renewal 2006                                                                 O
                                                corp20070527 Original Prime Holdings LLC Membership Certificate No. 2 Issued to Chelsea Trust Co for The Service Trust II   O
                                                corp20070527 Prime Holdings LLC Share Transfer Form from Provident Trust to Service Trust II                                O
                                                corp20070608 Prime Holdings LLC Manager's Written Resolutions re Transfer of Assets and Closure                             O
                                                corp20070828 Prime Holdings LLC Certificate of Renewal 2007-2008                                                            O




ABELPRO030 PROVIDIAN ENTERPRISES LTD            agre19960320 Consultant Agreement as Peters Investments with Financial Counselors                                           C
                                                agre19961212 Masters Promissory Note with Peters                                                                            C
                                                agre19970923 Repayment Agreement between Peters and Masters                                                                 C
                                                agre20011231 Novation Agreement with Wedge                                                                                  O
                                                corp19970728 Peters' Proxy appointing Trevor Lloyd re Masters                                                               C
                                                corp19970728 Share Transfer from Peters to Masters on Repurchase of Masters Shares                                          C
                                                corp19971201 Peters Investments Share Register                                                                              C
                                                corp20010306 Copy Certificate of Incorporation                                                                              C
                                                corp20020620 Providian Power of Attorney Granted to Kevin Valenzia                                                          C
                                                corp20030616 Certificate of Incumbency re Providian                                                                         C
                                                corp20050422 Edge Director's Written Resolutions re Special NAV at Providian's Request                                      O
                                                corp20050427 Director's Resolutions re Edge Redemption and Payment of Dividend                                              C
                                                corp20050427 Director's Resolutions re Edge Redemption and Subscription                                                     C
                                                corp20050427 Providian Director's Written Resolutions re PWC Executing Edge Documents                                       C
                                                corp20070527 Original Providian Enterprises Ltd Share No. Certificate No. 5 Issued to Cascade Holdings LLC                  O
                                                corp20070608 Providian Enterprises Ltd Shareholder's Resolutions re Providian Closure and Dividends                         O
                                                corp20070608 Providian Enterprises Ltd Director's Written Resolutions re Transfer of Assets and Closure                     O
                                                corp20070608 Providian Enterprises Ltd Share Transfer Form from Prime Holdings to Cascade Holdings                          O
                                                rept20060410 Audited Providian Enterprises Ltd Annual Report and Financial Statements for Year Ended 2002 (2 copies)        O
                                                rept20060410 Audited Providian Enterprises Ltd Annual Report and Financial Statements for Year Ended 2003 (3 copies)        O
                                                rept20070430 Audited Providian Enterprises Ltd Annual Report and Financial Statements for Year Ended 2005 (3 copies)        O


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                                                  rept20061229 Audited Providian Enterprises Ltd Annual Report and Financial Statements for Year Ended 2004 (3 copies)   O
                                                  rept20080716 Audited Providian Enterprises Ltd Annual Report and Financial Statements for Year Ended 2006 (2 copies)   O
                                                  rept20081015 Audited Providian Enterprises Ltd Annual Report and Financial Statements for Year Ended 2007 (4 copies)   O
                                                  agre20080930 Letter of Engagement Between PWC, Malta and Providian Enterprises Ltd re Final Audit                      O




AHOWGIN010 THE GINGER TRUST                       corp20070808 Ginger Holdings Limited Original Share Certificate No. 6 Issued to Gordon Howard for the Ginger Trust     O
                                                  corp20070808 Ginger Holdings Ltd Directors' Written Resolutions re Share Certificates                                  O


AHOWGIN020 GINGER HOLDINGS LTD


AHOWGIN030 DAVENPORT LTD                          corp20070808 Davenport Limited Orginal Share Certificate No. 2 Issued to Ginger Holdings Limited                       O
                                                  corp20070808 Davenport Ltd Directors' Written Resolutions re Share Certificates                                        O


AHOWGIN040 FAMILY HOLDINGS LTD


AHOWSAG010 THE SAGE TRUST


AHOWSAG020 P (T & C) LTD


AJONEVE010   THE EVERGREEN CHARITABLE TRUST       agre19990619 Financial Advisor's Agreement with Financial Counselors and Carlos Kepke                                  O
                                                  agre20011231 Novation of Financial Advisor's Agreement                                                                 O
                                                  corp20000322 Original Pinnacle Membership Certificate No. 1                                                            O
                                                  trst19970619 The Evergreen Charitable Trust Indenture                                                                  O
                                                  trst19980421 Evergreen Memorandum of Appointment of Financial Counselors Shares                                        O
                                                  trst20000204 Trustee Resolution re Pinnacle and Financial Counselors Shares from Meeting on 7.10.1998                  O
                                                  trst20000308 Deed of Appointment & Removal of Trustees                                                                 O
                                                  trst20010626 Trust Memorandum No. 1                                                                                    O
                                                  trst20070618 The Evergreen Charitable Trust Trustee's Resolutions re Various Edge Transactions                         O


AJONEVE020   PINNACLE HOLDINGS LLC                agre19971028 Consultant Agreement with Financial Counselors                                                            O
                                                  agre20000429 Pinnacle Contract of Employment with Melissa Jones                                                        O
                                                  agre20010630 Letter of Agreement with Melissa Jones re Salary                                                          O
                                                  agre20011231 Novation Agreement with Wedge Consulting                                                                  O
                                                  agre20031001 Option Agreement with Andrea Brockman re Larch Shares                                                     O
                                                  agre20031001 Option Agreement with Christopher Brockman re Larch Shares                                                O
                                                  agre20031001 Option Agreement with DKB re Larch Shares                                                                 O
                                                  agre20031001 Option Agreement with Robert Fennell re Larch Shares                                                      O
                                                  agre20031001 Option Agreement with RTB II re Larch Shares                                                              O
                                                  agre20031001 Option Agreement with RTB re Larch Shares                                                                 O
                                                  corp19971028 Articles of Organization                                                                                  O


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                                             corp19971028 Certificate of Formation                                                                            O
                                             corp19971028 Certificate of Notary Public                                                                        O
                                             corp19971028 Designation and Acceptance of Registered Agent                                                      O
                                             corp19971028 Endorsement Certificate                                                                             O
                                             corp19971028 Operating Agreement                                                                                 O
                                             corp19971028 Resignation of Organization Rights                                                                  O
                                             corp20000322 Manager's Resolutions on Incorporation 2                                                            O
                                             corp20000322 Manager's Resolutions on Incorporation                                                              O
                                             corp20020605 Pinnacle Certificate of Renewal 2002                                                                O
                                             corp20030924 Pinnacle Certificate of Renewal 2003                                                                O
                                             corp20031002 Original Larch Share Certificate No. 1                                                              O
                                             corp20050509 Pinnacle Certificate of Renewal 2005                                                                O
                                             corp20061012 Pinnacle Certificate of Renewal 2006                                                                O
                                             corr20040330 Letter from Concept Management re Nominee Shareholdings                                             O
                                             corp20070630 Pinnacle Holdings LLC Amended Operating Agreement (2 copies)                                        O
                                             corp20070630 Pinnacle Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters   O
                                             corp20070630 Pinnacle Holdings LLC Membership Certificate No. 2 Issued to Chancellor for the Evergreen Trust     O
                                             corp20070630 Pinnacle Holdings LLC Register of Managers and Officers                                             O
                                             corp20070630 Pinnacle Holdings LLC Register of Members                                                           O
                                             corp20070828 Pinnacle Certificate of Renewal 2007-2008                                                           O
                                             corp20080725 Pinnacle Certificate of Renewal 2008-2009                                                           O
                                             corp20090915 Pinnacle Holdings LLC Nevis Certificate of Renewal 2009-2010                                        O


AJONEVE030   WEDGE CONSULTING LTD            agre20020101 Option Agreement between Wedge and RTBII re Brown Holdings Shares                                   O
                                             agre20020102 Contract Employment Agreement between Wedge and DJ                                                  O
                                             agre20030102 Amendment to Consultant Agreement between SSHLLC and Financial Counselors and Wedge                 O
                                             agre20031001 Option Agreement between Wedge and Andrea Brockman re Brown Holdings Shares                         O
                                             agre20031001 Option Agreement between Wedge and Christopher Brockman re Brown Holdings Shares                    O
                                             agre20031001 Option Agreement between Wedge and Dorothy Brockman re Brown Holdings Shares                        O
                                             agre20031001 Option Agreement between Wedge and Robert Fennell re Brown Holdings Shares                          O
                                             agre20031001 Option Agreement between Wedge and RTB re Brown Holdings Shares                                     O
                                             agre20040216 Confidentiality Agreement between Wedge and Tangarra Consultants and ET                             O
                                             agre20040216 Consultancy Agreement between Wedge and Tangarra Consultants                                        O
                                             agre20040216 Side Letter to the Consultancy Agreement between Wedge and Tangarra Consultants                     O
                                             agre20041101 Management Agreement between Wedge and Pilot Management                                             O
                                             corp20010409 Designation and Acceptance of Registered Agent                                                      O
                                             corp20010409 Minutes of the First Meeting of the Incorporator and Subscriber to Wedge                            O
                                             corp20010409 Wedge Articles of Incorporation                                                                     O
                                             corp20010409 Wedge Bylaws                                                                                        O
                                             corp20010409 Wedge Certificate of Incorporation                                                                  O
                                             corp20010409 Wedge Certificate of Notary Public                                                                  O


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                                           corp20010409 Wedge Director's Resolutions on Incorporation                                                             O
                                           corp20010409 Wedge Endorsement Certificate                                                                             O
                                           corp20010409 Wedge Transfer of Subscription Rights to Concept Holdings                                                 O
                                           corp20020101 Original Brown Holdings Share Certificate No. 2 issued to Wedge Consulting                                O
                                           corp20020212 Wedge Director's Resolutions re Dividend to Pinnacle                                                      O
                                           corp20030600 Wedge Director's Resolution re Investment in Founding Partners                                            O
                                           corp20030627 Wedge Director's Resolutions re Investment in Founding Partners                                           O
                                           corp20030728 Wedge Director's Resolutions re Dividend to Pinnacle                                                      O
                                           corp20031231 Wedge Director's Resolutions re Removal of Serco as Bank Signatory                                        O
                                           corp20040114 Wedge Director's Resolutions re Dividend to Pinnacle                                                      O
                                           corp20040119 Wedge Director's Resolutions re DJ Bonus                                                                  O
                                           corp20050204 Wedge Consulting Certificate of Renewal 2005                                                              O
                                           corp20050415 Wedge Director's Written Resolutions re Redemption from Anova                                             O
                                           corp20070630 Original Wedge Consulting Share Certificate No. 2 Issued to Pinnacle Holdings LLC                         O
                                           agre20090101 Consultancy and Royalty Agreement between Tangarra Consultants Ltd and Wedge Consulting Ltd - Executed    O
                                           agre20090101 Confidentiality Agreement between Tangarra Consultants Ltd and Wedge Consulting Ltd - Executed            O
                                           corp20090407 Wedge Management LLC Nevis Certificate of Renewal 2009-2010                                               O


AJONEVE040   LARCH HOLDINGS LLC            agre20031001 Consultant Agreement with Wedge Consulting                                                                O
                                           corp20031001 Certificate of Formation                                                                                  O
                                           corp20031001 Certificate of Notary Public                                                                              O
                                           corp20031001 Designation and Acceptance of Registered Agent                                                            O
                                           corp20031001 Larch Articles of Organization                                                                            O
                                           corp20031001 Larch Endorsement Certificate                                                                             O
                                           corp20031001 Larch Operating Agreement                                                                                 O
                                           corp20031001 Minutes of the Organizational Meeting of the Organizer                                                    O
                                           corp20031001 Resignation of Organization Rights                                                                        O
                                           corp20040817 Certificate of Renewal 2004                                                                               O
                                           corp20050607 Certificate of Renewal 2005                                                                               O
                                           corp20061012 Larch Certificate of Renewal 2006                                                                         O
                                           corp20070630 Larch Holdings LLC Amended Operating Agreement (2 copies)                                                 O
                                           corp20070630 Larch Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters            O
                                           corp20070630 Larch Holdings LLC Membership Certificate No. 2 Issued to Pinnacle Holdings LLC                           O
                                           corp20070630 Larch Holdings LLC Register of Managers and Officers                                                      O
                                           corp20070630 Larch Holdings LLC Register of Members                                                                    O
                                           corp20070828 Larch Certificate of Renewal 2007-2008                                                                    O
                                           corp20080725 Larch Certificate of Renewal 2008-2009                                                                    O
                                           corp20090915 Larch Holdings LLC Nevis Certificate of Renewal 2009-2010                                                 O


AJONEVE050   BROWN HOLDINGS LTD            agre20010102 Consultant Agreement with Wedge Consulting                                                                O
                                           corp19921222 Brooke Enterprises Articles of Association                                                                O


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                                                corp19921222 Brooke Enterprises Certificate of Incorporation                                           O
                                                corp19921222 Brooke Enterprises Memorandum of Association                                              O
                                                corp19921222 Minutes of First Meeting of the Directors of Brooke                                       O
                                                corp19921222 Original Cancelled Brooke Share Certificate No. 1 issued to Financial Counselors          O
                                                corp19921222 Resolutions of Subscriber to Memorandum of Association                                    O
                                                corp19930510 Brooke Director's Resolutions re TIL Shares                                               C
                                                corp19930510 Letter of Direction from Brooke to TIL re TIL Shares                                      C
                                                corp19930510 Share Transfer Form from Brooke to Worldwide Hunger re TIL Shares                         C
                                                corp19930512 Brooke Director's Resolutions re Change of Director                                       C
                                                corp19930512 Letter from Turney Rankine resigning as Director                                          C
                                                corp19930526 Brooke Shareholder's Resolutions re TIL Shares                                            O
                                                corp19970306 Brooke Enterprises Certificate of Good Standing                                           O
                                                corp20000616 Certificate of Incumbency re Brooke                                                       O
                                                corp20000704 Brooke's Director's Resolutions re Appointment of Screen as Director                      O
                                                corp20001018 Brooke's Director's Resolutions re Name Change                                            O
                                                corp20001018 Extract from Director's Resolutions re Name Change                                        O
                                                corp20001019 Certificate of Incorporation on Name Change from Brooke                                   O
                                                corp20020101 Director's Resolution re Share Certificates                                               O
                                                corp20060920 Memorandum and Articles of Association Following Re-registration of Brown Holdings Ltd    O
                                                corp20060531 Certified Extract of Brown Holdings Minutes of Meeting of Directors re Re-registration    C
                                                corp20060920 Certificate of Re-registration Under BVI Business Companies Act 2004 re Brown Holdings    O
                                                corp20100204 Brown Holdings LLC Nevis Certificate of Renewal 2009-2010                                 O


AJONLEG010   LEGACY CHARITABLE TRUST            agre19950926 Financial Advisor's Contract with Financial Counselors and Carlos Kepke                   O
                                                agre20021231 Novation of Financial Advisor's Agreement                                                 O
                                                corp20000322 Original Fade Holdings LLC Bearer Membership Certificate No. 1                            O
                                                corp20030814 Original Advance Investments LLC Membership Certificate No. 1                             O
                                                trst19871214 Jones Family Trust Indenture                                                              C
                                                trst19931209 Deed of Retirement and Appointment and Change of Proper Law                               O
                                                trst19940127 Application to the Royal Court of Guernsey re Deletion of Words from Trust Indenture      C
                                                trst19940127 Order of the Royal Court of Guernsey re Words - And Comfort                               O
                                                trst19940615 Memorandum of Addition to Corpus of Trust                                                 O
                                                trst19941010 Application to the Royal Court of Guernsey re Corporate Trustee Capitalisation            C
                                                trst19941013 Order of the Royal Court of Guernsey re Corporate Trustee Capitalisation                  O
                                                trst19941221 Deed of Retirement and Appointment of New Trustee                                         O
                                                trst19941230 Memorandum of Addition to Corpus of Trust re Annis Shares                                 O
                                                trst19941230 Memorandum of Addition to Corpus of Trust re Jinsx Shares                                 O
                                                trst19941230 Memorandum of Addition to Corpus of Trust re Ketcham Shares                               O
                                                trst19941230 Memorandum of Addition to Corpus of Trust re Kvetch Shares                                O
                                                trst19941230 Memorandum of Addition to Corpus of Trust re Labyrinth Shares                             O
                                                trst19950112 Trustee Resolution re Loan to Annis Investment                                            O


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                                          trst19950112 Trustee Resolution re Loan to Jinsx Investment                                    O
                                          trst19950112 Trustee Resolution re Loan to Ketcham Holdings                                    O
                                          trst19950112 Trustee Resolution re Loan to Kvetch Holdings                                     O
                                          trst19950112 Trustee Resolution re Loan to Labyrinth Investment                                O
                                          trst19950217 Memorandum of Appointment from Corpus of Trust                                    O
                                          trst19950220 Trustee Resolution re Change of Trust Name                                        O
                                          trst19970603 Letter from DJ, Protector removing Grosvenor as Trustees                          O
                                          trst19971029 Deed of Removal, Appointment & Indemnity                                          O
                                          trst19980428 Order of the Royal Court of Guernsey re Change of Protector                       C
                                          trst19990318 Deed of Removal and Appointment of New Trustee                                    O
                                          trst20000204 Trustee Resolution re Fade Holdings Shares                                        O
                                          trst20000308 Deed of Appointment and Removal of Trustees                                       O
                                          trst20010626 Trustee Memorandum No. 2                                                          O
                                          trst20070618 The Legacy Charitable Trust Trustee's Resolutions re Various Edge Transactions    O


AJONLEG020   FADE HOLDINGS LLC            agre19971028 Consultant Agreement with Financial Counselors                                    O
                                          agre20000616 Option Agreement to RBT II re Trout Shares                                        O
                                          agre20000616 Option Agreement to RBT re Trout Shares                                           O
                                          agre20011231 Novation Agreement with Wedge Consulting                                          O
                                          agre20031001 Option Agreement to Andrea Brockman re Trout Shares                               O
                                          agre20031001 Option Agreement to Christopher Brockman re Trout Shares                          O
                                          agre20031001 Option Agreement to DKB re Trout Shares                                           O
                                          agre20031001 Option Agreement to Robert Fennell re Trout Shares                                O
                                          corp19971028 Articles of Organization                                                          O
                                          corp19971028 Cancelled Original Fade Bearer Share Certificate No. 1                            O
                                          corp19971028 Certificate of Formation                                                          O
                                          corp19971028 Certificate of Notary Public                                                      O
                                          corp19971028 Designation and Acceptance of Registered Agent                                    O
                                          corp19971028 Endorsement Certificate                                                           O
                                          corp19971028 Operating Agreement                                                               O
                                          corp19971028 Resignation of Organization Rights                                                O
                                          corp19971229 Minutes of the First Meeting of the Members                                       O
                                          corp20000322 Manager's Resolutions on Incorporation 2                                          O
                                          corp20000322 Manager's Resolutions on Incorporation                                            O
                                          corp20000616 Original Trout Enterprises Share Certificate No. 1 to Fade                        O
                                          corp20010627 Certificate of Renewal 2001                                                       O
                                          corp20020214 Fade Manager's Resolutions re Amendment to Articles of Organization               C
                                          corp20020312 Articles of Amendment to the Articles of Organization                             C
                                          corp20020605 Certificate of Renewal 2002                                                       O
                                          corp20031104 Certificate of Renewal 2003                                                       O
                                          corp20040507 Certificate of Good Standing                                                      O


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                                                  corp20050509 Fade Certificate of Renewal 2005                                                                                O
                                                  corp20061012 Fade Certificate of Renewal 2006                                                                                O
                                                  corp20070630 Fade Holdings LLC Amended Operating Agreement (2 copies)                                                        O
                                                  corp20070630 Fade Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters                   O
                                                  corp20070630 Fade Holdings LLC Membership Certificate No. 2 Issued to Willow for the Legacy Trust                            O
                                                  corp20070630 Fade Holdings LLC Register of Managers and Officers                                                             O
                                                  corp20070630 Fade Holdings LLC Register of Members                                                                           O
                                                  corp20070828 Fade Certificate of Renewal 2007-2008                                                                           O
                                                  corp20080725 Fade Certificate of Renewal 2008-2009                                                                           O
                                                  corp20090915 Fade Holdings LLC Nevis Certificate of Renewal 2009-2010                                                        O


AJONLEG030   TROUT ENTERPRISES LTD                agre20020102 Consultant Agreement with Wedge Consulting                                                                      O
                                                  corp20000616 Director's Resolutions on Incorporation                                                                         O
                                                  corp20000616 Subscriber's Resolution Appointing Director                                                                     O
                                                  corp20000616 Trout Articles of Association                                                                                   O
                                                  corp20000616 Trout Certificate of Incorporation                                                                              O
                                                  corp20000616 Trout Memorandum of Association                                                                                 O
                                                  corp20060616 Memorandum and Articles of Association Following Re-registration of Trout Enterprises                           O
                                                  corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Trout Enterprises                       C
                                                  corp20060531 Trout Enterprises Minutes of Meeting of Directors re Re-registration of the Company                             C
                                                  corp20100204 Trout Enterprises LLC Nevis Certificate of Renewal 2009-2010                                                    O


AJONLEG040   ADVANCE INVESTMENT HOLDINGS LLC      agre20040426 Letter of Agreement with Pace Mutual Fund re Annual Payment                                                     O
                                                  corp20030808 Original Share Certificate issued by Pace Mutual Fund Limited                                                   O
                                                  corp20030814 Advance Operating Agreement                                                                                     O
                                                  corp20030814 Articles of Organization                                                                                        O
                                                  corp20030814 Certificate of Formation                                                                                        O
                                                  corp20030814 Designation and Acceptance of Registered Agent                                                                  O
                                                  corp20030814 Endorsement Certificate                                                                                         O
                                                  corp20030814 Minutes of Member's Organizational Meeting                                                                      O
                                                  corp20030814 Resignation of Organization Rights                                                                              O
                                                  corp20050404 Advance Investment Holdings Certificate of Renewal 2005                                                         O
                                                  corp20061012 Advance Investment Holdings Certificate of Renewal 2006                                                         O
                                                  corp20070630 Advance Investments Holdings LLC Amended Operating Agreement (2 copies)                                         O
                                                  corp20070630 Advance Investments Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters    O
                                                  corp20070630 Advance Investments Holdings LLC Membership Certificate No. 2 Issued to Chancellor for the Legacy Trust         O
                                                  corp20070630 Advance Investments Holdings LLC Register of Managers and Officers                                              O
                                                  corp20070630 Advance Investments Holdings LLC Register of Members                                                            O
                                                  corp20070718 Advance Investments Holdings LLC Member's Written Resolutions re Amendments to Articles of Organization         O
                                                  corp20080815 Advance Investment Holdings Certificate of Renewal 2007-2008                                                    O
                                                  corp20070815 Advance Investments Holdings LLC Endorsement Certificate on Articles Change                                     O


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                                                  corp20070815 Advance Investments Holdings LLC Articles of Amendment to Articles of Incorporation    O
                                                  corp20080725 Advance Investments LLC Certificate of Renewal 2008-2009                               O


AJONLEG050   PACE MUTUAL FUND LTD                 agre20030808 Administrative Services Agreement with Folio Administrators Limited                    C
                                                  agre20030818 Discretionary Asset Management Agreement                                               C
                                                  corp20030808 Pace Mutual Articles of Association                                                    O
                                                  corp20030808 Pace Mutual Articles of Association                                                    C
                                                  corp20030808 Pace Mutual Certificate of Incorporation                                               C
                                                  corp20030808 Pace Mutual Memorandum of Association                                                  O
                                                  corp20030808 Pace Mutual Memorandum of Association                                                  C
                                                  corp20030808 Pace Resolutions of First Director on Incorporation                                    C
                                                  corp20030814 Pace Certificate of Recognition of a Professional Mutual Fund                          C
                                                  corp20050406 Pace Directors' Written Resolutions re Arboria Investment                              O
                                                  corp20040312 Pace Certificate of Recognition of a Professional Mutual Fund                          O
                                                  corp20050329 Pace Certificate of Recognition of a Professional Mutual Fund                          O
                                                  rept20061215 BDO Auditor's Report for Pace for Year Ending 31 December 2005 (3 copies)              O
                                                  rept20070709 Pace Mutual Fund Fund Audited Financial Statements for Year Ended 2006 (2 copies)      O




AJONOXF010 THE OXFORD CHARITABLE TRUST            agre19950926 Financial Advisor's Contract with Financial Counselors and Carlos Kepke                C
                                                  agre20011231 Novation Financial Advisor's Contract                                                  O
                                                  corp20000322 Original Slice Holdings LLC Bearer Membership Certificate No. 1                        O
                                                  trst19970619 The Oxford Charitable Trust Indenture                                                  O
                                                  trst19980421 Memorandum of Appointment of Inview and Pilot Shares                                   O
                                                  trst20000204 Trustee Resolution re Slice Shares                                                     O
                                                  trst20000308 Deed of Appointment & Removal of Trustees                                              O
                                                  trst20010626 Trustee Memorandum No. 3                                                               O
                                                  trst20070618 The Oxford Charitable Trust Trustee's Resolutions re Various Edge Transactions         O


AJONOXF020 SLICE HOLDINGS LLC                     agre19971029 Consultant Agreement with Financial Counselors                                         O
                                                  agre19971201 Business Consultant and Administration Agreement with Melissa Jones                    O
                                                  agre19971201 Compensation Schedule to Business Consultant and Administration Agreement              C
                                                  agre20011231 Novation Agreement with Wedge Consulting                                               O
                                                  agre20031001 Option granted by Slice to Andrea Brockman re Douglas                                  O
                                                  agre20031001 Option granted by Slice to Christopher Brockman re Douglas                             O
                                                  agre20031001 Option granted by Slice to DKB re Douglas                                              O
                                                  agre20031001 Option granted by Slice to Robert Fennell re Douglas                                   O
                                                  agre20031001 Option granted by Slice to RTB II re Douglas                                           O
                                                  agre20031001 Option granted by Slice to RTB re Douglas                                              O
                                                  corp19971029 Designation and Acceptance of Registered Agent                                         O


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                                              corp19971029 Resignation of Organization Rights                                                                  O
                                              corp19971029 Slice Certificate of Formation                                                                      O
                                              corp19971029 Slice Endorsement Certificate                                                                       O
                                              corp19971029 Slice Operating Agreement                                                                           O
                                              corp19971229 Minutes of the First Meeting of the Members                                                         O
                                              corp20000322 Manager's Resolutions on Incorporation 2                                                            O
                                              corp20000322 Manager's Resolutions on Incorporation                                                              O
                                              corp20000901 Original Inview Development Bearer Share Certificate No. 1 to Slice                                 O
                                              corp20010627 Slice Certificate of Renewal 2001                                                                   O
                                              corp20020605 Slice Certificate of Renewal 2002                                                                   O
                                              corp20030924 Slice Certificate of Renewal 2003                                                                   O
                                              corp20031002 Original Douglas Holdings LLC Share Certificate No. 1 to Slice                                      O
                                              corp20041029 Certified Copy of Certificate of Incorporation                                                      O
                                              corp20050509 Slice Certificate of Renewal 2005                                                                   O
                                              corp20061012 Slice Certificate of Renewal 2006                                                                   O
                                              corr20000514 Letter from Melissa Jones Terminating Business Consulting Agreement                                 O
                                              corp20070630 Slice Holdings LLC Amended Operating Agreement (2copies)                                            O
                                              corp20070630 Slice Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters      O
                                              corp20070630 Slice Holdings LLC Membership Certificate No. 2 Issued to Chancellor for the Oxford Trust           O
                                              corp20070630 Slice Holdings LLC Register of Managers and Officers                                                O
                                              corp20070630 Slice Holdings LLC Register of Members                                                              O
                                              corp20070828 Slice Holdings LLC Certificate of Renewal 2006-2007                                                 O
                                              corp20080725 Slice Holdings LLC Certificate of Renewal 2008-2009                                                 O
                                              corp20100204 Trout Enterprises LLC Nevis Certificate of Renewal 2009-2010                                        O


AJONOXF040 DOUGLAS INVESTMENTS LLC            agre20031001 Consultant Agreement with Wedge                                                                     O
                                              corp20031001 Articles of Organization                                                                            O
                                              corp20031001 Certificate of Formation                                                                            O
                                              corp20031001 Endorsement Certificate                                                                             O
                                              corp20031001 Minutes of Organizational Meeting of Organizer                                                      O
                                              corp20031001 Morning Star Acceptance as Registered Agent                                                         O
                                              corp20031001 Operating Agreement                                                                                 O
                                              corp20031001 Resignation of Organization Rights and Assignment                                                   O
                                              corp20040817 Certificate of Renewal                                                                              O
                                              corp20050607 Certificate of Renewal                                                                              O
                                              corp20061012 Douglas Holdings LLC Certificate of Renewal 2006                                                    O
                                              corp20070630 Douglas Holdings LLC Amended Operating Agreement (2 copies)                                         O
                                              corp20070630 Douglas Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters    O
                                              corp20070630 Douglas Holdings LLC Membership Certificate No. 2 Issued to Slice Holdings LLC                      O
                                              corp20070630 Douglas Holdings LLC Register of Managers and Officers                                              O
                                              corp20070630 Douglas Holdings LLC Register of Members                                                            O


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                                                   corp20070828 Douglas Holdings LLC Certificate of Renewal 2007-2008                                                         O
                                                   corp20080725 Douglas Holdings LLC Certificate of Renewal 2008-2009                                                         O
                                                   corp20090915 Douglas Holdings LLC Nevis Certificate of Renewal 2009-2010                                                   O


AMALCHI010 CHILD WELFARE CHARITABLE TRUST


AMALCHI020 ACTIVE INVESTMENT HOLDINGS LTD


AMALCHI030 DIRECT HOLDINGS LTD                     corp20070117 Direct Holdings Notice of Resolution of Dissolution and Voluntary Winding Up                                  O
                                                   corp20070117 Direct Holdings Shareholders' Resolution re Indemnity for Liquidator Appointed to Direct Holdings             O
                                                   corp20070117 Direct Holdings Notice of Resolution of Dissolution and Voluntary Winding Up                                  O
                                                   corp20070117 Direct Holdings Notice of Appointment of Liquidator, Edward Gatt                                              O
                                                   rept20070131 Audited Direct Holdings Ltd Annual Report and Financial Statements Year Ended 31 October 2006 (3 copies)      O
                                                   rept20070504 Direct Holdings' Liquidator's Final Accounts and Scheme of Distribution                                       O
                                                   corp20070117 Direct Holdings Declaration of Solvency to the Registrar of Companies                                         O
                                                   corp20061130 Direct Holdings Director's Resolutions re Termination of Advertising Services Agreement                       O
                                                   rept20060228 Audited Direct Holdings Ltd Annual Report and Financial Statements Year Ended 31 October 2005                 O


AMANAGE010 WATERFORD CHARITABLE TRUST              trst19980727 Original Waterford Trust Declaration of Purpose Trust by Grosvenor                                            O
                                                   trst19980727 Declaration of Nominee Share Holding by Skye Nominees re Annis                                                O
                                                   trst19980727 Declaration of Nominee Share Holding by Skye Nominees re Ketcham                                              O
                                                   trst19980727 Declaration of Nominee Share Holding by Skye Nominees re Labyrinth                                            O
                                                   trst19980727 Declaration of Nominee Share Holding by Skye Nominees re Jinsx                                                O
                                                   trst19980727 Declaration of Nominee Share Holding by Skye Nominees re Kvetch                                               O
                                                   trst20090101 Deed of Appointment of New Trustee Duncan Hall in Place of Andrew Keuls                                       O
                                                   trst20100816 Deed of Appointment of New Trustee Evatt Tamine in Place of Gordon Howard - Signed                            O


AMANAGE020 ST. JOHN'S TRUST COMPANY (PVT) LTD      corp20041006 St John's Share Transfer Form from Grosvenor to Gordon Howard as Trustee for the Waterford Trust              O
                                                   corp20041006 Original St Johns Share Certificate No. 3 issued to Gordon Howard for the Waterford Trust                     O
                                                   corp20041006 Declaration of Trust Made by Gordon Howard regarding Holding of Shares in St Johns for the Waterford Trust    O
                                                   corp20070808 St John's Trust Company Directors' Written Resolutions re Issue of Share Certificates                         O
                                                   corp20100104 St John's Minutes of Meeting of the Newly Elected Board of Directors for 2010 - Signed                        O
                                                   corp20100104 St John's Minutes of Annual General Meeting for 2010 - Signed                                                 O
                                                   corp20100104 St John's Minutes of Meeting of the Board of Directors for 2010 - Signed                                      O


AMANAGE030 POP                                     agre20000214 Cubicle Administration Services Letter of Contract between ATU General Trust and POP                          O
                                                   agre20000228 Promissory Note from POP to Kojak Holdings Ltd                                                                O
                                                   agre20000324 Escrow Agreement re Snowball Resources Inc                                                                    O
                                                   agre20000401 Consultant Agreement with Financial Counselors                                                                O
                                                   agre20000530 Promissory Note from Providence Trust Co to Kojak Holdings Ltd                                                O
                                                   agre20011231 Novation Agreement with Wedge Consulting                                                                      O


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                                            agre20030328 Sub-Tenancy Agreement re VP Bank Office                                          O
                                            corp19991214 Original Chamberlain Trust Company PVT Ltd Share Certificate No. 2               O
                                            corp19991214 Original Chancellor Trust Company PVT Ltd Share Certificate No. 2                O
                                            corp19991214 Original Chelsea Trust Company PVT Ltd Share Certificate No. 2                   O
                                            corp19991214 Original Gorry Trust Company PVT Ltd Share Certificate No. 2                     O
                                            corp19991214 Original Providence Trust Company PVT Ltd Share Certificate No. 2                O
                                            corp19991214 Original Willow Trust Company PVT Ltd Share Certificate No. 2                    O
                                            corp20000207 Certificate of Incorporation of POP                                              O
                                            corp20000207 POP Articles of Association                                                      O
                                            corp20000224 Power of Attorney Granted by POP to Serco Management Limited                     O
                                            corp20000224 Written Resolutions of Director re Serco Power of Attorney                       O
                                            corp20000228 Copy Certificate of Incumbency re POP                                            C
                                            corp20000228 Copy POP Share Certificate and Signed Share Transfer Form                        C
                                            corp20000228 Copy POP Share Certificate No. 1 issued to Crispin Ruffell Smith                 C
                                            corp20000228 Resolution of Director on Incorporation                                          O
                                            corp20000228 Resolution of Director re VP Bank Account                                        C
                                            corp20000322 Original Screen Management Share Certificate No. 1                               O
                                            corp20000222 Copy POP Restricted Trust Licence                                                C
                                            corp20010124 Copy POP Restricted Trust Licence                                                C
                                            corp20010201 Original Concept Management LLC Bearer Share Certificate No. 1                   O
                                            corp20010216 Written Resolution of Director re Change of Director                             C
                                            corp20020128 Copy POP Restricted Trust Licence                                                C
                                            corp20030127 Copy POP Restricted Trust Licence                                                C
                                            corp20040105 Original Declaration of Involuntary Dissolution re Gladstone Trust Co PVT Ltd    O
                                            corp20040929 Written Resolution of Director re Change of Director                             C
                                            corp20050125 Written Resolution of Sole Member of POP                                         C
                                            corp20050223 Written Resolutions of Director re Change of Director                            C
                                            trst20020726 Trustee Memorandum No 1. re The Heritage Trust                                   O
                                            trst20020726 Trustee Memorandum No 1. re The Provident Trust                                  O
                                            corp20000228 POP Share Certificate and Signed Share Transfer Form                             O
                                            corp20000228 POP Share Certificate No. 1 issued to Crispin Ruffell Smith                      O


AMANAGE040 SCREEN MANAGEMENT LTD            agre20020102 Consultant Agreement with Wedge Consulting                                       O
                                            corp20000322 Articles of Association                                                          O
                                            corp20000322 Memorandum of Association                                                        O
                                            corp20000322 Certificate of Incorporation                                                     O
                                            corp20000523 Certificate of Incumbency                                                        O
                                            corp20000322 Minutes of the First Meeting of the Directors of Screen                          O
                                            corp20000322 Screen Subscriber's Resolution re Appointment of Directors                       O
                                            corp20011001 Screen Directors' Resolutions re Appointment of Director                         O
                                            corp20030101 Director's Resolution re Revocation of Power of Attorney to Serco Management     C


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         corp20030401 Screen Director's Resolution re Cris Smith Signing Authority               O
         corp20030601 Director's Resolutions re Special Power of Attorney to Serco Management    O
         corp20000322 Screen Power of Attorney to Serco Management                               O
         corp20000000 Screen Letter of Resignation re Addington Trading Ltd                      O
         corp20000000 Screen Letter of Resignation re Touchstone Investments Trading Ltd         O
         corp20000000 Screen Letter of Resignation re Barrier Investments LLC                    O
         corp20000000 Screen Letter of Resignation re Rosefaire Development Ltd                  O
         corp20000000 Screen Letter of Resignation re Vanguard Investments Trading Ltd           O
         corp20000000 Screen Letter of Resignation re Warwick Investments Ltd                    O
         corp20000000 Screen Letter of Resignation re Warwick Investments LLC                    O
         corp20000000 Screen Letter of Resignation re Commitment Holdings LLC                    O
         corp20000000 Screen Letter of Resignation re Choice Investments LLC                     O
         corp20000000 Screen Letter of Resignation re Reka Corporation LLC                       O
         corp20000000 Screen Letter of Resignation re Plattoon Investments LLC                   O
         corp20000000 Screen Letter of Resignation re Cascade Holdings LLC                       O
         corp20000000 Screen Letter of Resignation re Addington Trading LLC                      O
         corp20000000 Screen Letter of Resignation re Lakewood Investments LLC                   O
         corp20000000 Screen Letter of Resignation re Vivant Holdings LLC                        O
         corp20000000 Screen Letter of Resignation re Lakewood Investments Ltd                   O
         corp20000000 Screen Letter of Resignation re Point Investments LLC                      O
         corp20000000 Screen Letter of Resignation re Vivant Holdings Ltd                        O
         corp20000000 Screen Letter of Resignation re Advertising Services Ltd                   O
         corp20000000 Screen Letter of Resignation re Reka Corp Ltd                              O
         corp20000000 Screen Letter of Resignation re Plattoon Investments Ltd                   O
         corp20000000 Screen Letter of Resignation re Pitch Holdings LLC                         O
         corp20000000 Screen Letter of Resignation re Fairway Enterprises LLC                    O
         corp20000000 Screen Letter of Resignation re Edge Investment Fund Ltd                   O
         corp20000000 Screen Letter of Resignation re Gorry Trust Company (PVT) Ltd              O
         corp20000000 Screen Letter of Resignation re Chelsea Trust Company (PVT) Ltd            O
         corp20000000 Screen Letter of Resignation re Chamberlain trust Company (PVT) Ltd        O
         corp20000000 Screen Letter of Resignation re Chancellor Trust Company (PVT) Ltd         O
         corp20000000 Screen Letter of Resignation re Edge Fund Investments LLC                  O
         corp20000000 Screen Letter of Resignation re Willow Trust Company (PVT) Ltd             O
         corp20000000 Screen Letter of Resignation re Providence Trust Company (PVT) Ltd         O
         corp20000000 Screen Letter of Resignation re Douglas Investments LLC                    O
         corp20000000 Screen Letter of Resignation re Inview Development Ltd                     O
         corp20000000 Screen Letter of Resignation re Slice Holdings LLC                         O
         corp20000000 Screen Letter of Resignation re Concept Management LLC                     O
         corp20000000 Screen Letter of Resignation re Wedge Consulting Ltd                       O
         corp20000000 Screen Letter of Resignation re Larch Holdings LLC                         O
         corp20000000 Screen Letter of Resignation re Pinnacle Holdings LLC                      O


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                                                corp20000000 Screen Letter of Resignation re Legend Investments LLC                                                             O
                                                corp20000000 Screen Letter of Resignation re Pace Mutual Fund Ltd                                                               O
                                                corp20000000 Screen Letter of Resignation re Advance Investment Holdings LLC                                                    O
                                                corp20000000 Screen Letter of Resignation re Trout Enterprises Ltd                                                              O
                                                corp20000000 Screen Letter of Resignation re Brown Holdings Ltd                                                                 O
                                                corp20000000 Screen Letter of Resignation re Fade Holdings LLC                                                                  O
                                                corp20060531 Screen Management Minutes of Meeting of Directors re Re-registration of the Company                                C
                                                corp20060616 Memorandum and Articles of Association Following Re-registration of Screen Management                              O
                                                corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Screen Management                          C
                                                corp20070618 Screen Management Ltd Director's Written Resolutions re Harrison Capital Investments                               O
                                                bank20080916 Bermuda Commercial Bank Multi Client Account Opening Documentation Signed By Peter Poole and Cris Ruffell Smith    C
                                                corp20100325 Certificate of Discontinuance Issued by the BVI Registrar of Corporate Affairs to Screen Management Ltd            O


AMANAGE050 CONCEPT MANAGEMENT LLC               agre20011231 Novation Agreement with Wedge Consulting                                                                           O
                                                agre20020102 Consultant Agreement with Wedge Consulting                                                                         O
                                                corp20010201 Concept Articles of Organization                                                                                   O
                                                corp20010201 Concept Certificate of Formation                                                                                   O
                                                corp20010201 Concept Certificate of Notary Public                                                                               O
                                                corp20010201 Concept Endorsement Certificate                                                                                    O
                                                corp20010201 Concept Operating Agreement                                                                                        O
                                                corp20010201 Designation and Acceptance of Registered Agent                                                                     O
                                                corp20010201 Director's Resolutions on Incorporation                                                                            O
                                                corp20010201 Minutes of the Organizational Meeting of the Organizer                                                             O
                                                corp20010201 Resignation of Organization Rights                                                                                 O
                                                corp20010212 Transfer of Advertising Services Shares from Skye Nominees to Concept                                              O
                                                corp20010212 Transfer of Inview Bermuda Shares from Skye Nominees to Concept                                                    O
                                                corp20010409 Original Wedge Consulting Share Certificate No. 1                                                                  O
                                                corp20020214 Concept Manager's Resolutions re Amendment to Articles of Organization                                             C
                                                corp20020312 Articles of Amendment to the Articles of Organization                                                              O
                                                corp20020318 Endorsement Certificate re Amended Articles of Incorporation                                                       O
                                                corp20040330 Letter from Concept Confirming Nominee of Wedge re Pinnacle                                                        C
                                                corp20041118 Concept Certificate of Renewal                                                                                     O


AMANAGE060 CHANCELLOR TRUST COMPANY (PVT) LTD   agre19991214 Agreement for Transfer of Subscription Rights                                                                      O
                                                agre20000401 Consultant Agreement with Financial Counselors                                                                     O
                                                agre20011231 Novation Agreement with Wedge Consulting                                                                           O
                                                corp19991214 Articles of Incorporation                                                                                          O
                                                corp19991214 Bylaws                                                                                                             O
                                                corp19991214 Certificate of Good Standing                                                                                       O
                                                corp19991214 Certificate of Incorporation                                                                                       O
                                                corp19991214 Certificate of Notary Public                                                                                       O


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                                                 corp19991214 Endorsement Certificate                                                                   O
                                                 corp19991214 Minutes of First Meeting of Incorporator and Subscriber                                   O
                                                 corp19991214 Original Cancelled Share Certificate No. 1 issued to CSR for One Share                    O
                                                 corp19991214 Written Resolutions of Director re First Meeting                                          O
                                                 corp19991214 Written Resolutions of Director re Share Certificate to POP                               O
                                                 corp20000224 Power of Attorney in favour of Ernie Dover                                                C
                                                 corp20000224 Power of Attorney in favour of Serco Management                                           O
                                                 corp20000224 Written Resolutions of Director re Power of Attorney to Dover                             O
                                                 corp20000224 Written Resolutions of Director re Power of Attorney to Serco                             O
                                                 corp20000531 Written Resolutions of Director re Change of Director                                     O
                                                 corp20040820 Certificate of Renewal                                                                    O
                                                 corp20061012 Chancellor Certificate of Renewal 2006                                                    O
                                                 corr19991214 Morning Star Acceptance as Registered Agent                                               O
                                                 trst20010626 Trustee Memorandum No. 1 re The Evergreen Trust                                           O
                                                 trst20010626 Trustee Memorandum No. 2 re The Legacy Trust                                              O
                                                 trst20010626 Trustee Memorandum No. 3 re The Oxford Trust                                              O
                                                 corp20070828 Chancellor Certificate of Renewal 2007-2008                                               O
                                                 corp20080910 Chancellor Certificate of Renewal 2008-2009                                               O
                                                 corp20090915 Chancellor Trust Company (PVT) Ltd Nevis Certificate of Renewal 2009-2010                 O


AMANAGE070 CHAMBERLAIN TRUST COMPANY (PVT) LTD   agre20000401 Consultant Agreement with Financial Counselors Ltd                                        O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                                  O
                                                 corp19991214 Certificate of Notary Public                                                              O
                                                 corp19991214 Chamberlain Articles of Incorporation                                                     O
                                                 corp19991214 Chamberlain Bylaws                                                                        O
                                                 corp19991214 Chamberlain Certificate of Incorporation                                                  O
                                                 corp19991214 Chamberlain Endorsement Certificate                                                       O
                                                 corp19991214 Designation and Acceptance of Registered Agent                                            O
                                                 corp19991214 Director's Resolutions re Share Transfer on Incorporation                                 O
                                                 corp19991214 Director's Resolutions re Share Transfer to POP                                           O
                                                 corp19991214 Minutes of First Meeting of Incorporator and Subscriber                                   O
                                                 corp19991214 Original Cancelled Chamberlain Share Certificate No. 1 issued to Crispin Ruffell Smith    O
                                                 corp19991214 Transfer of Subscription Rights                                                           O
                                                 corp20000224 Chamberlain Power of Attorney to Ernie Dover                                              O
                                                 corp20000224 Chamberlain Power of Attorney to Serco Management                                         O
                                                 corp20000224 Director's Resolution re Power of Attorney to Ernie Dover                                 O
                                                 corp20000224 Director's Resolution re Power of Attorney to Serco Management                            O
                                                 corp20000531 Director's Resolution re Change of Director                                               C
                                                 corp20040527 Chamberlain Certificate of Good Standing                                                  O
                                                 corp20040820 Chamberlain Certificate of Renewal                                                        O
                                                 corp20061012 Chamberlain Certificate of Renewal 2006                                                   O


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                                                 corp20070828 Chamberlain Certificate of Renewal 2007-2008                                                 O
                                                 corp20080910 Chamberlain Certificate of Renewal 2008-2009                                                 O
                                                 corp20090915 Chamberlain Trust Company (PVT) Ltd Nevis Certificate of Renewal 2009-2010                   O


AMANAGE080 CHELSEA TRUST COMPANY (PVT) LTD       agre20000401 Consultant Agreement with Financial Counselors Ltd                                           O
                                                 agre20013112 Novation Agreement with Wedge Consulting                                                     O
                                                 corp19991214 Certificate of Notary Public                                                                 O
                                                 corp19991214 Chelsea Articles of Incorporation                                                            O
                                                 corp19991214 Chelsea Bylaws                                                                               O
                                                 corp19991214 Chelsea Certificate of Incorporation                                                         O
                                                 corp19991214 Chelsea Endorsement Certificate                                                              O
                                                 corp19991214 Designation and Acceptance of Registered Agent                                               O
                                                 corp19991214 Director's Resolutions on Incorporation                                                      O
                                                 corp19991214 Director's Resolutions re Shares to POP                                                      O
                                                 corp19991214 Minutes of First Meeting of Incorporator and Subscriber                                      O
                                                 corp19991214 Original Cancelled Chelsea Share Certificate No. 1 issued to issued to Cris Ruffell Smith    O
                                                 corp19991214 Transfer of Subscription Rights                                                              O
                                                 corp20000224 Director's Resolution re Power of Attorney to Ernie Dover                                    O
                                                 corp20000224 Director's Resolution re Power of Attorney to Serco Management                               O
                                                 corp20000224 Power of Attorney Granted to Ernie Patrick Dover                                             C
                                                 corp20000224 Power of Attorney Granted to Serco Management                                                O
                                                 corp20000531 Director's Resolutions re Change of Director                                                 C
                                                 corp20040527 Chelsea Certificate of Good Standing                                                         O
                                                 corp20040820 Chelsea Certificate of Renewal                                                               O
                                                 corp20061012 Chelsea Certificate of Renewal 2006                                                          O
                                                 trst20000204 Trustee Resolution re Endowment Share Holdings                                               O
                                                 trst20000204 Trustee Resolution re Service II Share Holdings                                              O
                                                 corp20070828 Chelsea Certificate of Renewal 2007-2008                                                     O
                                                 corp20080910 Chelsea Certificate of Renewal 2008-2009                                                     O
                                                 corp20090915 Chelsea Trust Company (PVT) Ltd Nevis Certificate of Renewal 2009-2010                       o


AMANAGE090 GORRY TRUST COMPANY (PVT) LTD         agre20000401 Consultant Agreement with Financial Counselors Ltd                                           O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                                     O
                                                 corp19991214 Certificate of Notary Public                                                                 O
                                                 corp19991214 Designation and Acceptance as Registered Agent                                               O
                                                 corp19991214 Gorry Articles of Incorporation                                                              O
                                                 corp19991214 Gorry Bylaws                                                                                 O
                                                 corp19991214 Gorry Certificate of Incorporation                                                           O
                                                 corp19991214 Gorry Director's Resolutions re Share Issue                                                  O
                                                 corp19991214 Gorry Endorsement Certificate                                                                O
                                                 corp19991214 Minutes of First Meeting of Incorporator and Subscriber                                      O


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                                                 corp19991214 Original Cancelled Gorry Share Certificate No. 1 to Crispin Ruffell Smith                O
                                                 corp19991214 Transfer of Subscription Rights                                                          O
                                                 corp20000224 Director's Resolutions re Power of Attorney to Ernie Dover                               O
                                                 corp20000224 Director's Resolutions re Power of Attorney to Serco Management                          O
                                                 corp20000224 Gorry Power of Attorney to Ernie Dover                                                   C
                                                 corp20000224 Gorry Power of Attorney to Serco Management                                              O
                                                 corp20000531 Director's Resolutions on Administration move to BVI                                     C
                                                 corp20040527 Gorry Certificate of Good Standing                                                       O
                                                 corp20040820 Gorry Certificate of Renewal                                                             O
                                                 corp20061012 Chelsea Certificate of Renewal 2006                                                      O
                                                 trst20000204 Gorry Trustee Resolution for The Benevolent re Share Holdings                            O
                                                 corp20070828 Gorry Certificate of Renewal 2007-2008                                                   O
                                                 corp20080910 Gorry Certificate of Renewal 2008-2009                                                   O
                                                 corp20090915 Gorry Trust Company (PVT) Ltd Nevis Certificate of Renewal 2009-2010                     O


AMANAGE100 PROVIDENCE TRUST COMPANY (PVT) LTD    agre20000401 Consultant Agreement with Financial Counselors                                           O
                                                 agre20000530 Unsecured Demand Promissory Note from Providence to Kojak                                O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                                 O
                                                 corp19991214 Designation and Acceptance of Registered Agent                                           O
                                                 corp19991214 Director's Resolutions on Incorporation                                                  O
                                                 corp19991214 Original Cancelled Providence Share Certificate No. 1 issued to Crispin Ruffell Smith    O
                                                 corp19991214 Providence Articles of Incorporation                                                     O
                                                 corp19991214 Providence By-Laws                                                                       O
                                                 corp19991214 Providence Certificate of Incorporation                                                  O
                                                 corp19991214 Providence Certificate of Notary Public                                                  O
                                                 corp19991214 Providence Director's Written Resolutions re Shares to POP                               O
                                                 corp19991214 Providence Endorsement Certificate                                                       O
                                                 corp19991214 Providence Minutes of First Meeting of the Incorporator and Subscriber                   O
                                                 corp19991214 Providence Transfer of Subscription Rights                                               O
                                                 corp20000224 Director's Resolution re Power of Attorney to Ernie Dover                                O
                                                 corp20000224 Director's Resolution re Power of Attorney to Serco Management                           O
                                                 corp20000224 Providence Power of Attorney to Ernie Dover                                              C
                                                 corp20000224 Providence Power of Attorney to Serco Management                                         O
                                                 corp20000530 Director's Written Resolutions re Banking                                                O
                                                 corp20000531 Director's Written Resolutions re Change of Director                                     C
                                                 corp20040527 Certificate of Good Standing                                                             O
                                                 corp20040820 Certificate of Renewal 2004                                                              O
                                                 corp20061012 Providence Certificate of Renewal 2006                                                   O
                                                 trst20010621 Massengill Grandchildren's Trustee Memorandum No.2                                       O
                                                 trst20010626 Louise C Massengill Trustee Memorandum No. 3                                             O
                                                 trst20010626 Massengill Children's Trustee Memorandum No. 1                                           O


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                                                 corp20070828 Providence Certificate of Renewal 2007-2008                                       O
                                                 corp20080910 Providence Certificate of Renewal 2008-2009                                       O
                                                 corp20090915 Providence Trust Company (PVT) Ltd Nevis Certificate of Renewal 2009-2010         O


AMANAGE110 WILLOW TRUST COMPANY (PVT) LTD        agre20000113 Promissory Note issued to Kojak Holdings Ltd                                      O
                                                 agre20000401 Consultant Agreement with Financial Counselors Ltd                                O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                          O
                                                 corp19991214 Minutes of First Meeting of Incorporator and Subscriber                           O
                                                 corp19991214 Willow Articles of Incorporation                                                  O
                                                 corp19991214 Willow Bylaws                                                                     O
                                                 corp19991214 Willow Certificate of Incorporation                                               O
                                                 corp19991214 Willow Certificate of Notary Public                                               O
                                                 corp19991214 Willow Designation and Acceptance of Registered Agent                             O
                                                 corp19991214 Willow Endorsement Certificate                                                    O
                                                 corp19991214 Willow Transfer of Subscription Rights                                            O
                                                 corp20000110 Director's Resolution re Power of Attorney to Ernie Dover                         O
                                                 corp20000110 Director's Resolution re Power of Attorney to Serco Management                    O
                                                 corp20000110 Power of Attorney granted to Ernie Dover                                          C
                                                 corp20000110 Power of Attorney granted to Serco Management                                     O
                                                 corp20000113 Director's Resolutions re VP Bank Account                                         O
                                                 corp20000228 Copy Willow Share Certificate No. 1 issued to Crispin Ruffell Smith               O
                                                 corp20000228 Director's Resolution on Incorporation                                            O
                                                 corp20000228 Director's Resolution re Transfer of Shares to POP                                O
                                                 corp20000531 Director's Resolutions re Change of Director                                      O
                                                 corp20040527 Willow Certificate of Good Standing                                               O
                                                 corp20040820 Willow Certificate of Renewal                                                     O
                                                 corp20061010 Willow Certificate of Renewal 2006                                                O
                                                 trst20000204 Trustee Resolution re The Lineage Share Holdings                                  O
                                                 trst20010412 Deed of Retirement and Appointmnt of New Trustee re AEBGCT (partial execution)    O
                                                 corp20070828 Willow Certificate of Renewal 2007-2008                                           O
                                                 corp20080910 Willow Certificate of Renewal 2008-2009                                           O
                                                 corp20090915 Willow Trust Company (PVT) Ltd Nevis Certificate of Renewal 2009-2010             O


AMANAGE120 PILOT MANAGEMENT LIMITED


AMANAGE140 TANGARRA CONSULTANTS LTD


AMANAGE150 ACCOUNTABILITY LLC                    corp20081130 Accountability LLC Operating Agreement                                            O
                                                 corp20081130 Accountability LLC Certificate of Formation                                       O
                                                 corp20081130 Accountability LLC Designation and Acceptance of Registered Agent                 O
                                                 corp20081130 Accountability LLC Endorsement Certificate                                        O


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                                                  corp20081130 Accountability LLC Private Placement Memorandum                                              O
                                                  corp20081130 Accountability LLC Minutes of First Meeting of Incorporator and Subscriber                   O
                                                  corp20081130 Accountability LLC Articles of Organization                                                  O
                                                  corp20081130 Accountability LLC Transfer of Subscription Rights                                           O
                                                  bank20081119 BCB Corporate Account Application for Accountability LLC                                     C
                                                  corp20081115 Accountability LLC Member's Resolutions re Ratification of Agreements                        O
                                                  corp20081104 Accountability LLC Member's Written Resolutions re Various Matters on Incorporation          O


AMASCTX010 THE MASSENGILL CHILDREN'S TRUST        agre20010215 Financial Advisor's Contract with Financial Counselors and Carlos Kepke                      O
                                                  agre20011231 Novation Agreement with Wedge Consulting                                                     O
                                                  corp20000322 Original Edge LLC Membership Bearer Certificate No. 1 held by Massengill Children's Trust    O
                                                  corr19960925 Letter from Hobbs, Hobbs & Peeples to Grosvenor                                              O
                                                  corr19970710 Letter of Opinion from Carlos Kepke to Grosvenor                                             O
                                                  trst19900706 Last Will and Testament of Frank Massengill including First Codicil                          C
                                                  trst19960925 Lincoln County Court Clerk's Certificate                                                     O
                                                  trst19970603 Letter from DJ, Protector to Grosvenor Removing Trustee                                      O
                                                  trst19971210 Deed of Removal, Appointment & Indemnity                                                     O
                                                  trst19971224 Affidavit of DJ re Trust Wording Change                                                      C
                                                  trst19980428 Order of the Royal Court of Guernsey re Change of Protector                                  C
                                                  trst19990318 Deed of Retirement & Appointment                                                             O
                                                  trst20000204 Trustee Resolution re Edge LLC Shares                                                        O
                                                  trst20000308 Massengill Children's Deed of Appointment & Removal of Trustees                              O
                                                  trst20010626 Massengill Children's Trustee Memorandum No. 1                                               O
                                                  trst20070618 The Massengill Children's Trust Trustee's Resolutions re Various Edge Transactions           O


AMASCTX020 WILBURY MANAGEMENT LLC                 agre20000401 Consultant Agreement with Financial Counselors                                               O
                                                  agre20011231 Novation Agreement with Wedge Consulting                                                     O
                                                  corp19990430 Original Edge Investment Fund Ltd Share Certificate No. 1                                    O
                                                  corp19990430 Original Edge Investment Fund Ltd Share Certificate No. NPS-001                              O
                                                  corp19990511 Certificate of Notary Public                                                                 O
                                                  corp19990511 Designation and Acceptance of Registered Agent                                               O
                                                  corp19990511 Edge Articles of Organization                                                                O
                                                  corp19990511 Edge Certificate of Formation                                                                O
                                                  corp19990511 Edge Operating Agreement                                                                     O
                                                  corp19990511 Endorsement Certificate                                                                      O
                                                  corp19990511 Resignation of Organization Rights                                                           O
                                                  corp20000322 Manager's Resolutions on Incorporation 2                                                     O
                                                  corp20000322 Manager's Resolutions on Incorporation                                                       O
                                                  corp20020517 Certificate of Renewal 2002                                                                  O
                                                  corp20020627 Certificate of Renewal 2001                                                                  O
                                                  corp20030924 Certificate of Renewal 2003                                                                  O


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                                                corp20040317 Certificate of Renewal 2004                                                                                      O
                                                corp20050509 Edge Certificate of Renewal 2005                                                                                 O
                                                corp20061012 Edge Certificate of Renewal 2006                                                                                 O
                                                corp20070630 Wilbury Management LLC Member's Written Resolutions re New Operating Agreement and Various Matters (2 copies)    O
                                                corp20070630 Fully Notarised Articles of Amendment re Change of Name of Edge Holdings LLC to Wilbury Management LLC           O
                                                corp20070709 Nevis Registrar of Companies Endorsement Certificate re Change of Name from Edge to Wilbury Management LLC       O
                                                corp20070630 Wilbury Management LLC Amended Operating Agreement (2 copies)                                                    O
                                                corp20070630 Wilbury Management LLC Member's Written Resolutions re New Operating Agreement and Various Matters               O
                                                corp20070630 Wilbury Management LLC Membership Certificate No. 3 Issued to Providence for the Massengill Children's Trust     O
                                                corp20070630 Wilbury Management LLC Register of Managers and Officers                                                         O
                                                corp20070630 Wilbury Management LLC Register of Members                                                                       O
                                                misc20080226 W-8BEN IRS Form Submitted by Wilbury re Augustus Investments                                                     O
                                                corp20090407 Wilbury Management LLC Nevis Certificate of Renewal 2009-2010                                                    O


AMASCTX030 EDGE INVESTMENT FUND LTD             agre19990430 Fund Administration Agreement between Edge and ATU Fund Administrators                                           O
                                                agre20000401 Consultant Agreement with Financial Counselors                                                                   O
                                                agre20011231 Novation Agreement with Wedge Consulting                                                                         O
                                                agre20040801 Edge Notice to VEFII of the Sale of its Interest to Point Investments                                            O
                                                agre20040801 Point Notice to VEFII of the Sale of its Interest to Point Investments                                           C
                                                agre20040815 Consent of Managing Partner to VEFII for Sale from Edge to Point                                                 O
                                                agre20040815 Jaimie MacPherson Valuation of VEFII NAV for Sale from Edge to Point (2 originals in envelope)                   O
                                                agre20040824 Sale and Purchase Agreement between Edge and Point Investments                                                   O
                                                corp19990430 Director's Resolutions on Incorporation                                                                          O
                                                corp19990430 Edge Articles of Association as Amended and Filed 23 January 2001                                                O
                                                corp19990430 Edge Articles of Association as Amended and Filed 9 May 2000                                                     O
                                                corp19990430 Edge Articles of Association Original                                                                            O
                                                corp19990430 Edge Certificate of Incorporation                                                                                O
                                                corp19990430 Edge Director's Resolution re Bank Account with VP Bank                                                          O
                                                corp19990430 Edge Memorandum of Association as Amended and Filed 23 January 2001                                              O
                                                corp19990430 Edge Memorandum of Association as Amended and Filed 9 May 2000                                                   O
                                                corp19990430 Edge Memorandum of Association Original                                                                          O
                                                corp19990430 Edge Subscriber's Resolution Appointing Serco as Director                                                        O
                                                corp19990528 Edge Certificate of Recognition as a Mutual Fund                                                                 C
                                                corp19990730 Edge LLC Indemnity to Director of Edge - Serco                                                                   O
                                                corp20000531 Resolutions of Director re Change of Director to Screen                                                          O
                                                corp20000601 Director's Resolutions Edge Power of Attorney to Serco Management                                                O
                                                corp20000601 Edge Power of Attorney to Serco Management                                                                       O
                                                corp20020509 Director's Resolution re Correction to Shareholdings                                                             C
                                                corp20050406 Edge Certificate of Incumbency                                                                                   O
                                                corp20050406 Edge Director's Written Resolutions re STIR Investment                                                           O
                                                corp20050422 Edge Director's Written Resolutions re Special NAV at Providian's Request                                        O


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                                                    corp20050425 Edge Director's Written Resolutions re Investment in Pace Mutual Fund                                                                 C
                                                    corr19990526 Letter from Hewlett Beck & Arad to ATU General Trust re Opinion re Mutual Fund                                                        O
                                                    rept20020123 PWC Auditors' Report for Edge for Year Ending 31 December 2000                                                                        O
                                                    rept20020123 PWC Auditors' Report for Edge for Year Ending 31 December 2000                                                                        C
                                                    rept20030212 KPMG Auditors' Report for Edge for Year Ending 31 December 2001                                                                       C
                                                    rept20040201 KPMG Auditors' Report for Edge for Year Ending 31 December 2002                                                                       O
                                                    rept20061219 BDO Auditor's Report for Edge for Year Ending 31 December 2005 (2 copies)                                                             O
                                                    corp20070601 Edge Investment Fund Ltd Director's Written Resolutions re June 2007 Transactions and Class B Closure                                 O
                                                    misc20080226 W-8BEN IRS Form Submitted by Edge re Augustus Investments                                                                             O
                                                    agre20081230 Deed of Assignment Between Edge and Edge Capital - Signed                                                                             O
                                                    corp20080918 Bundle of Waivers of Audit of Edge Investment Fund Ltd Signed by All Edge Investors
                                                    corr20081229 Bundle of Acknowledgements and Acceptances of Share Exchange between Edge Fund and Edge Capital - Signed by all Investors
                                                    corp20081221 Edge Investment Fund Shareholders Resolutions re Edge Capital Incorporation                                                           O




AMASCTX040 AUGUSTUS INVESTMENTS LLC                 corp20070625 Augustus Investments LLC Certificate of Formation                                                                                     O
                                                    corp20070625 Augustus Investments LLC Waiver of Notice of First Meeting of Members                                                                 O
                                                    corp20070625 Augustus Investments LLC Articles of Organization                                                                                     O
                                                    corp20070625 Augustus Investments LLC Operating Agreement                                                                                          O
                                                    corp20070625 Augustus Investments LLC Minutes of First Meeting of Members                                                                          O
                                                    misc20070723 IRS Notice of Assignment of Employer Identification Number for Augustus                                                               O
                                                    rept20080930 Audited Augustus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2007 - Signed (6 copies)    O
                                                    rept20090828 Audited Augustus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2008 - Signed (3 copies)    O
                                                    rept20100325 Audited Augustus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2009 - Signed (3 copies)    O
                                                    misc20090909 IRS Form 1065 US Return of Partnership Income for Augustus Investments LLC for Tax Year 2008                                          C
                                                    rept20110331 Audited Augustus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2010 - Signed (2 copies)    O


AMASCTX050 EDGE CAPITAL INVESTMENTS LTD             agre20081230 Investment Management Agreement Between Tangarra Consultants and Edge Capital Investments - Signed by Both Parties                    O
                                                    corp20081230 Edge Capital Investments Ltd ByLaws                                                                                                   O
                                                    corp20081230 Edge Capital Investments Ltd Certificate of Incorporation                                                                             O
                                                    corp20081230 Edge Capital Investments Ltd Designation and Acceptance of Registered Agent                                                           O
                                                    corp20081230 Edge Capital Investments Ltd Endorsement Certificate                                                                                  O
                                                    corp20081230 Edge Capital Investments Ltd Private Placement Memorandum                                                                             O
                                                    corp20081230 Edge Capital Investments Ltd Minutes of First Meeting of Incorporator and Subscriber                                                  O
                                                    corp20081230 Edge Capital Investments Ltd Articles of Incorporation                                                                                O
                                                    corp20081230 Edge Capital Investments Ltd Transfer of Subscription Rights                                                                          O
                                                    misc20090121 Founding Partners Global Fund Inc Subscription Agreement Completed and Signed by Edge Capital                                         C
                                                    corp20081230 Minutes of First Meeting of the Shareholder of Edge Capital Investments Ltd - Signed                                                  O
                                                    corp20090915 Edge Capital Investments Ltd Nevis Certificate of Renewal 2009-2010                                                                   O


AMASCTX040 PACER INVESTMENTS LLC


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AMASGCT010 THE MASSENGILL GRANDCHILDREN'S TRUST   agre20010215 Financial Advisor's Contract with Kepke and Financial Counselors                                  O
                                                  agre20011231 Novation Agreement with Wedge                                                                     O
                                                  corp20000322 Original Membership [Share] Bearer Certificate for Point LLC                                      O
                                                  corr19970710 Letter from Carlos Kepke to Grosvenor re Tax Change                                               C
                                                  trst19900706 Last Will and Testament of Frank Massengill including First Codicil                               C
                                                  trst19970603 Letter from DJ, Protector Changing Trustees                                                       O
                                                  trst19971210 Deed of Removal, Appointment and Indemnity                                                        O
                                                  trst19980428 Order of the Royal Court of Guernsey re Protector                                                 C
                                                  trst19990318 Deed of Retirement and Appointment of New Trustee                                                 O
                                                  trst20000204 Trustee Resolution re Ownership of Point                                                          O
                                                  trst20000308 Massengill Grandchildren's Deed of Retirement and Removal of Trustees                             O
                                                  trst20010621 Massengill Grandchildren's Trustee Memorandum No.2                                                O
                                                  trst20070618 The Massengill Grandchildren's Trust Trustee's Resolutions re Various Edge Transactions           O


AMASGCT020 POINT INVESTMENTS LLC                  agre20000401 Consultant Agreement with Financial Counselors                                                    O
                                                  agre20011231 Novation Agreement                                                                                O
                                                  corp19990305 Articles of Organization                                                                          O
                                                  corp19990305 Certificate of Formation                                                                          O
                                                  corp19990305 Certificate of Notary Public                                                                      O
                                                  corp19990305 Endorsement Certificate                                                                           O
                                                  corp19990305 Morning Star Designation and Acceptance as Registered Agent                                       O
                                                  corp19990305 Operating Agreement                                                                               O
                                                  corp19990305 Resignation of Organization Rights                                                                O
                                                  corp19990817 Original Point Investments Ltd Shares Certificate No. 1 issued to Point LLC                       O
                                                  corp20000322 Manager's Resolution re Re Appointment of Manager                                                 O
                                                  corp20000322 Manager's Resolutions re Share and Seal                                                           O
                                                  corp20010627 Certificate of Renewal                                                                            O
                                                  corp20020506 Certificate of Renewal                                                                            O
                                                  corp20030924 Certificate of Renewal                                                                            O
                                                  corp20040317 Certificate of Renewal                                                                            O
                                                  corp20050509 Point Certificate of Renewal 2005                                                                 O
                                                  corp20090407 Point Investments LLC Nevis Certificate of Renewal 2009-2010                                      O


AMASGCT030 POINT INVESTMENTS LTD                  corp20070717 Point Investments Ltd Certified Resolutions re Investment in VEPFIII LP - Signed Copy - Sealed    O
                                                  corp20070717 Point Directors' Written Resolutions re Subscription Documents for VEPFIII Investment             O
                                                  misc20070716 Point Investments Ltd IRS W-8BEN Form for VEPFIII Subscription                                    O
                                                  invs20070608 Point Investments Ltd Subscription Form Completed by SSH Ltd for Investment in Point              O
                                                  rept20070331 Unaudited VEFII Quarterly Report and Financial Statements                                         C
                                                  agre20080414 Loan Agreement Between Vista Equity Partners LLC and Point Investments Ltd                        O
                                                  agre20080414 Pledge and Security Agreement Between Vista Equity Partners LLC and Point Investments Ltd         O


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                                                  agre20080414 Secured Promissory Note Executed by Vista Equity Partners LLC in Favor of Point Investments Ltd                                O
                                                  agre20070630 Third Amendment to the VEFII LP Agreement re Various Matters - Signed by All Parties                                           O
                                                  agre20070801 Fourth Amendment to the VEFII LP Agreement re Sirsi Guaranty - Signed by by Both Parties                                       O
                                                  agre20080711 Assignment and Assumption Agreement Between Point, VEP III, VEPFIII and Ors - Fully Executed                                   O
                                                  agre20080311 Corporate Services Indemnity Agreement Between Point Investments LLC and Codan Trust Company BVI Ltd                           O
                                                  rept20060519 Audited Financial Statements for Point Investments for Year Ending 31 December 2005                                            O
                                                  agre20081201 Joinder to the VEFII LP Agreement re James Hickey (2 copies)                                                                   O
                                                  agre20081201 Joinder to the VEFII LP Agreement re Betty Hung (2 copies)                                                                     O
                                                  agre20090324 Notice of Designation of Ianctive General Partner for Banneker Davis LLC Signed by Point Investments Ltd                       O
                                                  misc20090910 Point Investments Ltd IRS W-8BEN Form for Vista Foundation Fund I Subscription                                                 O
                                                  invs20090910 Vista Foundation Fund I (Parallel) L P Subscription Document Completed by Point Investments Ltd - Signed                       O
                                                  agre20090911 Vista Foundation Fund I LP Guarantee Agreement - Signed by all Parties                                                         C
                                                  agre20090911 Vista Foundation Fund I LP Amended and Restated Limited Partnership Agreement - Signed by all Parties                          C
                                                  agre20090911 Vista Foundation Fund I LP Advisory Agreement with Vista Equity Partners III LLC - Signed by all Parties                       C
                                                  agre20091117 Letter of Engagement between Point Investments Ltd and PWC, Bermuda re Audit - Signed by Point                                 C
                                                  corp20091106 Completed Application by Point Investments Ltd to Conyers Dill & Pearman re Continuation of Company from the BVI to Bermuda    O
                                                  corp20091103 Point Investments Ltd Directors' Written Resolutions re Transfer of Capital to Surplus and Distribution                        O
                                                  corp20091103 Point Investments Ltd Directors' Written Resolutions re Share Capital Reduction - Signed by Both Directors                     O
                                                  corp20091118 Point Investments Ltd Resolutions re Conituation Into Bermuda, Appointment of Directors and Other Matters                      O
                                                  corp20091120 Written Consent of SSH Ltd to Continuation of Point Investments into Bermuda                                                   O
                                                  corp20091120 Point Investments Ltd Form 13 Notice of Registered Office - Signed                                                             O
                                                  corp20091120 Point Investments Ltd Memorandum of Continuance into Bermuda - Signed                                                          O
                                                  corp20091120 Point Investments Ltd Declaration Pursuant to Companies Act Bermuda re Pricipal Business and Share Capital - Signed            O
                                                  corp20100105 Point Investments Ltd Bermuda Minutes of Meeting of the Board of Directors for 2010 - Signed                                   O
                                                  corp20100105 Point Investments Ltd Bermuda Annual General Meeting for 2010 - Signed                                                         O
                                                  corp20100105 Point Investments Ltd Bermuda Minutes of Meeting of the New Board of Directors for 2010 - Signed                               O
                                                  invs20091208 SSH Ltd Application for Shares in Point Investments Ltd Signed by Heather Corbett                                              C
                                                  agre20100101 Investment Advisory Agreement Between Tangarra Consultants Ltd and Point Investments Ltd - Signed                              O


AMASLCM010 LOUISE C. MASSENGILL FAMILY TRUST      agre20010215 Financial Advisor's Agreement with Financial Counselors and Carlos Kepke                                                       O
                                                  agre20011231 Novation Agreement with Wedge Consulting                                                                                       O
                                                  corp20011024 Original Bearer Membership Certificate No. 1 Fairway Enterprises LLC for 1 Unit                                                O
                                                  corp20030313 Cancelled Original Membership Certificate No. 1 Pitch Holdings LLC for 1 Unit                                                  O
                                                  corp20031120 Original Membership Certificate No. 2 Pitch Holdings LLC for 49 Units                                                          O
                                                  trst20000522 Trust Agreement between Louise C Massengill and Providence Trust Co                                                            O
                                                  trst20010626 Louise C Massengill Trustee Memorandum No. 3                                                                                   O


AMASLCM020 FAIRWAY ENTERPRISES LLC                agre20011130 Charge over Shares to Plattoon Investments LLC                                                                                 C
                                                  agre20011130 Charge over Shares to Reka Corporation LLC                                                                                     C
                                                  agre20011130 Charge over Shares to Vivant Holdings LLC                                                                                      C
                                                  agre20011130 Share sale Agreement between Fairway and Plattoon Investments LLC                                                              O
                                                  agre20011130 Share sale Agreement between Fairway and Reka Corporation LLC                                                                  C


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                                          agre20011130 Share sale Agreement between Fairway and Vivant Holdings LLC                                                    C
                                          agre20020102 Consultant Agreement with Wedge Consulting                                                                      O
                                          corp20011024 Articles of Organization                                                                                        O
                                          corp20011024 Certificate of Formation                                                                                        O
                                          corp20011024 Endorsement Certificate                                                                                         O
                                          corp20011024 Minutes of the Organizational Meeting of the Organizer                                                          O
                                          corp20011024 Morning Star Acceptance as Registered Agent                                                                     O
                                          corp20011024 Resignation of Organization Rights                                                                              O
                                          corp20011024 Sample Operating Agreement                                                                                      O
                                          corp20011024 Sole Manager's Resolutions re Incorporation                                                                     O
                                          corp20030228 Original Share Certificate No. 5 for Reka Corporation Ltd                                                       O
                                          corp20030228 Original Share Certificate No. 6 for Plattoon Investments Ltd                                                   O
                                          corp20030228 Original Share Certificate No. 6 for Vivant Holdings Ltd                                                        O
                                          corp20040817 Certificate of Renewal                                                                                          O
                                          corp20050607 Certificate of Renewal                                                                                          O
                                          corp20061012 Fairway Certificate of Renewal 2006                                                                             O
                                          corp20070618 Fairway Enterprises LLC Manager's Resolutions re Advertising Services Dividend and Loan Repayment (4 copies)    O
                                          corp20070630 Fairway Enterprises LLC Register of Managers and Officers                                                       O
                                          corp20070630 Fairway Enterprises LLC Register of Members                                                                     O
                                          corp20070630 Fairway Enterprises LLC Membership Certificate No. 2 Issued to Providence for the LCM Family Trust              O
                                          corp20070630 Fairway Enterprises LLC Member's Written Resolutions re New Operating Agreement and Various Matters             O
                                          corp20070630 Fairway Enterprises LLC Amended Operating Agreement (2 copies)                                                  O
                                          corp20070828 Fairway Certificate of Renewal 2007-2008                                                                        O
                                          corp20080725 Fairway Certificate of Renewal 2008-2009                                                                        O
                                          corp20090915 Fairway Enterprises LLC Nevis Certificate of Renewal 2009-2010                                                  O


AMASLCM030 PITCH HOLDINGS LLC             agre20030101 Short agreement between Cabot Global Fund to Pitch re Annual Payment                                            O
                                          agre20030313 Consultant Agreement with Wedge Consulting                                                                      O
                                          corp20030313 Articles of Organization                                                                                        O
                                          corp20030313 Certificate of Formation                                                                                        O
                                          corp20030313 Endorsement Certificate                                                                                         O
                                          corp20030313 Resignation of Organization Rights                                                                              O
                                          corp20030313 Resolutions of the Manager on Incorporation                                                                     O
                                          corp20030313 Sample Operating Agreement                                                                                      O
                                          corp20031120 Chamberlain Trust Co Director's Resolution Accepting 49% Pitch's Shares                                         O
                                          corp20031120 Director's Resolutions re Gifting Shares to Seneca and Gillooly                                                 O
                                          corp20031120 Providence Trust Co Director's Resoltuion Gifting Pitch to Seneca and Gillooly                                  O
                                          corp20050204 Pitch Holdings Consulting Certificate of Renewal 2005                                                           O
                                          corr20031120 Letter from Ben Gillooly accepting 2% Pitch Shares                                                              O
                                          corp20031120 Original Pitch Holdings Share Certificate issued to Ben Gillooly for 2% of Pitch Shares                         O
                                          corp20060224 Pitch Holdings Consulting Certificate of Renewal 2006                                                           C


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                                                corp20070630 Pitch Holdings LLC Amended Operating Agreement (2 copies)                                         O
                                                corp20070630 Pitch Holdings LLC Members' Written Resolutions re New Operating Agreement and Various Matters    O
                                                corp20070630 Pitch Holdings LLC Membership Certificate No. 5 Issued to Providence for the LCM Family Trust     O
                                                corp20070630 Pitch Holdings LLC Membership Certificate No. 6 Issued to Chamberlain for the Seneca Trust        O
                                                corp20070630 Pitch Holdings LLC Membership Certificate No. 7 Issued to Michael Francis Benjamin Gillooly       O
                                                corp20070630 Pitch Holdings LLC Register of Managers and Officers                                              O
                                                corp20070630 Pitch Holdings LLC Register of Members                                                            O
                                                corp20070814 Pitch Holdings LLC Endorsement Certificate on Amendment to Articles of Organization               O
                                                corp20070718 Pitch Holdings LLC Articles of Amendment to Articles of Organization                              O
                                                corp20090407 Pitch Holdings LLC Nevis Certificate of Renewal 2009-2010                                         O


AMASLCM040 PLATTOON INVESTMENTS LTD             agre19900915 Consulting Agreement with Financial Counselors                                                    C
                                                agre19911101 License Agreement with UC Consulting Inc                                                          C
                                                agre19911120 Sublicense Agreement with Universal Computer Services (Canada)                                    C
                                                agre19951019 Amendment to Sublicence Agreement between UCS Ltd and Plattoon                                    C
                                                agre20011231 Novation Agreement with Wedge Consulting                                                          O
                                                corp19900412 Articles of Association                                                                           O
                                                corp19900412 Memorandum of Association                                                                         O
                                                corp19900412 Resolution of the Subscriber to the Memorandum of Association                                     C
                                                corp19900820 Minutes of First Meeting of the Board of Directors                                                C
                                                corp19911010 Minutes of Meeting of Directors                                                                   C
                                                corp19911219 Original Share Certificate for 11996 shares in Universal Computer Software Ltd                    O
                                                corp19940404 Minutes of Meeting of Directors                                                                   C
                                                corp19940923 Original Share Certificate for 2 Shares in Universal Computer Software Ltd                        O
                                                corp19950516 Cancelled Original Share Certificate for 500 Shares issued to Skye Nominees                       O
                                                corp19950516 Minutes of Meeting of Directors                                                                   C
                                                corp19960201 Minutes of Meeting of Directors                                                                   O
                                                corp19961021 Original Share Certificate for 2 shares in Universal Computer Software Ltd                        O
                                                corp19961204 Original Bearer Share Certificate for 500 Shares in UCS Software Licensing                        O
                                                corp19980325 Certificate of Good Standing                                                                      O
                                                corp19980514 Certificate of Incorporation                                                                      O
                                                corp19980701 Written Resolution of Shareholders re Officers                                                    O
                                                corp19980727 Written Resolution of Shareholders re Dividends                                                   O
                                                corp20010206 Written Resolution of Shareholders re Resignation of Lesley Wollman                               C
                                                corp20010216 Extract of Written Resolutions of the Directors re Registered Office                              C
                                                corp20010619 Written Resolution of Directors re Screen appointment                                             C
                                                corp20010628 Written Resolution of Director re Share Certificate to Plattoon LLC                               O
                                                corp20010216 Application for Transfer of Shares from Plattoon LLC to Fairway                                   O
                                                corp20030228 Written Resolution of Director re Share Transfer to Fairway                                       O
                                                corp20050126 Certificate of Incumbency                                                                         O
                                                corp20060531 Plattoon Investments Ltd Minutes of Meeting of Directors re Re-registration of the Company        C


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                                                      corp20060616 Memoramdum and Articles of Association Following Re-registration of Plattoon Investments Ltd        O
                                                      corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Plattoon Investments Ltd    C
                                                      corr19950710 Letter of Resignation of Director, John Faiella                                                     C


AMASLCM050 UNIVERSAL COMPUTER SOFTWARE LTD


AMASLCM060 UNIVERSAL COMPUTER SOFTWARE NV


AMASLCM070 UCS COMPUTER SOFTWARE (EUROPE) BV


AMASLCM090 ADVERTISING SERVICES LTD (BVI)             agre20011231 Assignment of License Agreement with Data Based Advertising                                         O
                                                      agre20020102 Consultant Agreement with Wedge Consulting                                                          O
                                                      corp20000901 Articles of Association                                                                             O
                                                      corp20000901 Certificate of Incorporation                                                                        O
                                                      corp20000901 Memorandum of Association                                                                           O
                                                      corp20000901 Power of Attorney Granted to Serco                                                                  C
                                                      corp20000901 Subscriber's Resolution appointing First Director                                                   O
                                                      corp20000901 Written Resolutions of the Director re Bank Account                                                 O
                                                      corp20000901 Written Resolutions of the Director re Serco Power of Attorney                                      O
                                                      corp20000901 Written Resolutions of the Director regarding Incorporation                                         O
                                                      corp20030101 Director's Written Resolution re Revocation of Serco Power of Attorney                              O
                                                      corp20040114 Director's Written Resolution re Dividend to Reka                                                   O
                                                      corp20060531 Advertising Services Minutes of Meeting of Directors re Re-registration of the Company              C
                                                      corp20060616 Memorandum and Articles of Association Following Re-registration of Advertising Services Ltd        O
                                                      corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Advertising Services Ltd    C
                                                      corp20061130 Advertising Services Director's Resolutions re Termination of Licensing Agreements                  O
                                                      agre20061130 Software Sale and Purchase Agreement between Advertising Services and DCS (Counterpart copies)      O
                                                      agre20061130 Termination Agreement Between Advertising Services and Direct Holdings (3 counterpart copies)       O
                                                      agre20061130 Termination Agreement Between Direct Holdings and Dealer Computer Services (2 copies)               O
                                                      corp20070618 Advertising Services Director's Written Resolutions re Various Edge Transactions (2 copies)         O


AMASLCM100 VIVANT HOLDINGS LTD                        agre19900915 Consultant Agreement with Financial Counselors                                                      C
                                                      agre20011231 Novation Agreement with Wedge                                                                       O
                                                      corp19900412 Articles of Association                                                                             O
                                                      corp19900412 Copy Original Certificate of Incorporation                                                          O
                                                      corp19900412 Memorandum of Association                                                                           O
                                                      corp19900412 Resolution of the Subscriber re First Directors                                                     C
                                                      corp19900820 Certificate of Incumbency                                                                           C
                                                      corp19900820 Minutes of First Meeting of Directors on Incorporation                                              C
                                                      corp19911010 Director's Resolutions re Share Transfer and Change of Director                                     C
                                                      corp19940404 Director's Resolutions re Share Transfer                                                            C


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                                                  corp19950217 Original Cancelled Financial Counselors Share Certificate No. 5 issued to Skye Nominees                           O
                                                  corp19950516 Director's Resolutions re Share Transfer                                                                          O
                                                  corp19960201 Director's Appointment of Alternate Director 2                                                                    O
                                                  corp19960201 Director's Appointment of Alternate Director                                                                      C
                                                  corp19960201 Director's Resolutions re Change of Directors                                                                     O
                                                  corp19960704 Director's Resolutions re Addition of Director                                                                    O
                                                  corp19970306 Certificate of Good Standing                                                                                      O
                                                  corp19980325 Certificate of Good Standing                                                                                      O
                                                  corp19980701 Shareholder's Resolutions re Change of Directors 2                                                                C
                                                  corp19980701 Shareholder's Resolutions re Change of Directors                                                                  C
                                                  corp19981022 Director's Resolutions re Change of Directors                                                                     O
                                                  corp19981126 Original Universal Computer Systems Share Certificate No. 16 to Vivant                                            O
                                                  corp20010206 Shareholder's Resolution re Change of Director                                                                    C
                                                  corp20010207 Directors' Resolutions re Change of Registered Office and Registered Agent                                        C
                                                  corp20010328 Director's Resolutions re Change of Director                                                                      O
                                                  corp20010501 Letter of Resignation as Director from Karen Pettifer                                                             C
                                                  corp20010501 Member's Resolution re Change of Director                                                                         O
                                                  corp20010628 Director's Resolutions re Share Transfer                                                                          O
                                                  corp20010628 Letter of Resignation from Peter Dickson as Director                                                              O
                                                  corp20030319 Director's Resolutions re Change of Director                                                                      O
                                                  corp20050126 Certificate of Incumbency                                                                                         O
                                                  corp20050126 Certification of Director's Written Resolutions re Butterfield Bank Signatories                                   O
                                                  corp20050126 Director's Written Resolutions re Butterfield Bank Signatories                                                    O


AMASLCM110 UNIVERSAL COMPUTER SYSTEMS LTD


AMASLCM120 CABOT GLOBAL FUND LTD                  corp20030331 Cabot Articles of Association                                                                                     O
                                                  corp20030331 Cabot Memorandsum of Association                                                                                  O
                                                  corp20031028 Cabot Certificate of Incorporation                                                                                O
                                                  corp20031028 Cabot Certificate of Good Standing                                                                                O
                                                  rept20070112 BDO Auditor's Report re Cabot Global Fund Year Ended 2005 (5 copies)                                              O
                                                  corp20070720 Cabot Director's Written Resolutions re Transfer of VP Bank Investments to Charles Schwab Account of Spartacus    C
                                                  rept20070919 Deloitte's Auditor's Report re Cabot Global Fund Year Ended 2006                                                  O
                                                  misc20080227 W-8BEN IRS Form Submitted by Cabot re Spartacus Investments                                                       O
                                                  rept20041219 BDO Auditor's Report re Cabot Global Fund Year Ended 2003 (2 copies)                                              O
                                                  agre20081230 Deed of Assignment Between Cabot Global Fund and Cabot Global Investments - Signed                                O
                                                  corp20081221 Cabot Global Fund Shareholders Resolutions re Cabot Global Incorporation                                          O


AMASLCM170 VISTA EQUITY FUND III L.P.             See SSH Ltd re original June 27, 2006 transaction documents
                                                  corp20090210 Performance Investments LLC Certificate of Removal from Companies Registry in the Cayman Islands                  O
                                                  corp20090209 VEFIII Certificate of Dissolution of Limited Partnership Issued by the Registrar of Limited Partnerships          O


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                                                 agre20090201 Indemnification and Release Agreement Between Cabot, Performance and VEP re VEFIII - Fully Executed                                    O
                                                 corp20090121 Written Resolutions of the Partners of VEFIII Resolving to Dissolve VEFIII - Signed By Both Parties                                    O
                                                 corp20090121 General Partner's Report re the Dissolution of VEFIII - Signed with Attached Financial Statements                                      O
                                                 corp20090121 Cayman Islands Section 15(1) Notice of Dissolution of VEFIII - Signed                                                                  O


AMASLCM190 SPARTACUS INVESTMENTS LLC             corp20070625 Spartacus Investments LLC Certificate of Formation                                                                                     O
                                                 corp20070625 Spartacus Investments LLC Waiver of Notice of First Meeting of Members                                                                 O
                                                 corp20070625 Spartacus Investments LLC Articles of Organization                                                                                     O
                                                 corp20070625 Spartacus Investments LLC Operating Agreement                                                                                          O
                                                 corp20070625 Spartacus Investments LLC Minutes of First Meeting of Members                                                                          O
                                                 misc20070723 IRS Notice of Assignment of Employer Identification Number for Spartacus                                                               O
                                                 rept20080930 Audited Spartacus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2007 - Signed (6 copies)    O
                                                 rept20090828 Audited Augustus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2008 - Signed (3 copies)     O
                                                 rept20100325 Audited Augustus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2009 - Signed (3 copies)     O
                                                 misc20090909 IRS Form 1065 US Return of Partnership Income for Augustus Investments LLC for Tax Year 2008                                           C
                                                 rept20110331 Audited Augustus Investments LLC Financials Statements Prepared by Dan Jenkins for Year Ended 31 December 2010 - Signed (2 copies)     O


AMASLCM200 STRUMMER MANAGEMENT LLC               corp20070703 Strummer Management LLC Minutes of Organizational Meeting of the Organizer                                                             O
                                                 corp20070703 Strummer Management LLC Resignation of Organization Rights                                                                             O
                                                 corp20070703 Strummer Management LLC Endorsement Certificate - Original                                                                             O
                                                 corp20070703 Strummer Management LLC Articles of Organization - Original                                                                            O
                                                 corp20070703 Strummer Management LLC Letter from Morning Star Holdings Accepting Designation as Registered Agent                                    O
                                                 corp20070703 Strummer Management LLC Sample Operating Agreement - Not Signed                                                                        O
                                                 corp20070703 Strummer Management LLC Certificate of Formation - Original                                                                            O
                                                 corp20070706 Strummer Management LLC Signed Operating Agreement (2 copies)                                                                          O
                                                 corp20070706 Strummer Management LLC Membership Certificate No. 1 Issued to Providence for the LCM Trust                                            O
                                                 corp20070706 Strummer Management LLC Register of Members                                                                                            O
                                                 corp20070706 Strummer Management LLC Register of Managers and Officers                                                                              O
                                                 corp20070706 Strummer Management LLC Member's Written Resolutions re New Operating Agreement and Various Matters                                    O
                                                 misc20080227 W-8BEN IRS Form Submitted by Strummer re Spartacus Investments                                                                         O
                                                 corp20080725 Strummer Management LLC Nevis Certificate of Renewal 2008-2009                                                                         O
                                                 corr20100303 Morning Star Holdings Limited Invoice for Strummer Management LLC Renewal 2010-2011                                                    O


AMASLCM210 CABOT CLOBAL INVESTMENTS LTD          corp20081230 Cabot Global Investments Investments Ltd ByLaws                                                                                        O
                                                 corp20081230 Cabot Global Investments Investments Ltd Certificate of Incorporation                                                                  O
                                                 corp20081230 Cabot Global Investments Investments Ltd Designation and Acceptance of Registered Agent                                                O
                                                 corp20081230 Cabot Global Investments Investments Ltd Endorsement Certificate                                                                       O
                                                 corp20081230 Cabot Global Investments Investments Ltd Private Placement Memorandum                                                                  O
                                                 corp20081230 Cabot Global Investments Investments Ltd Minutes of First Meeting of Incorporator and Subscriber                                       O
                                                 corp20081230 Cabot Global Investments Investments Ltd Articles of Incorporation                                                                     O
                                                 corp20081230 Cabot Global Investments Investments Ltd Transfer of Subscription Rights                                                               O


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                                                corp20081230 Minutes of First Meeting of the Shareholder of Cabot Global Investments Ltd - Signed    O
                                                corp20090915 Cabot Global Investments Ltd Nevis Certificate of Renewal 2009-2010                     O


ANALSEN010 SENECA CHARITABLE TRUST              agre20020102 Financial Advisor's Contract with Kepke and Wedge                                       O
                                                corp20001012 Lakewood Investments LLC Original Membership Certificate No. 1                          O
                                                corp20031120 Pitch Holdings LLC Original Share Certificate No. 3                                     O
                                                trst19941213 Trust Indenture                                                                         O
                                                trst20000218 Deed of Retirement and Removal of Trustees                                              O


ANALSEN020 LAKEWOOD INVESTMENTS LLC             agre20020102 Consultant Agreement with Wedge Consulting                                              O
                                                corp19941215 Original Lakewood Investment Holdings Bearer Certificate No. 1                          O
                                                corp20001012 Articles of Organization                                                                O
                                                corp20001012 Certificate of Formation 2                                                              O
                                                corp20001012 Certificate of Formation                                                                O
                                                corp20001012 Certificate of Good Standing                                                            O
                                                corp20001012 Certificate of Notary Public                                                            O
                                                corp20001012 Designation and Acceptance of Registered Agent                                          O
                                                corp20001012 Endorsement Certificate                                                                 O
                                                corp20001012 Minutes of the Organizational Meeting of the Organizer                                  O
                                                corp20001012 Operating Agreement                                                                     O
                                                corp20001012 Resignation of Organization Rights                                                      O
                                                corp20020214 Manager's Resolution re Amendment to Articles of Organization                           O
                                                corp20020214 Manager's Resolutions on Incorporation                                                  O
                                                corp20020318 Articles of Amendment to Articles of Organization                                       O
                                                corp20020318 Endorsement Certificate of Articles of Amendment                                        O
                                                corp20040817 Certificate of Renewal                                                                  O
                                                corp20050707 Certificate of Renewal                                                                  O
                                                corp20061012 Lakewood LLC Certificate of Renewal 2006                                                O
                                                corp20070828 Lakewood LLC Certificate of Renewal 2007-2008                                           O
                                                corp20090407 Lakewood Investments LLC Nevis Certificate of Renewal 2008-2009                         O
                                                corp20090915 Lakewood Investments LLC Nevis Certificate of Renewal 2009-2010                         O


ANALSEN030 LAKEWOOD INVESTMENTS LTD             agre19950701 Stock Repurchase Agreement with Knox Licensing Ltd                                      O
                                                agre19950701 Stock Repurchase Agreement with Pevril Investments Ltd                                  O
                                                agre20020102 Consultant Agreement with Wedge Consulting                                              O
                                                corp19941212 Articles of Association                                                                 O
                                                corp19941212 Memorandum of Association                                                               O
                                                corp19941212 Original Certificate of Incorporation                                                   O
                                                corp19941212 Resolution of the Subscriber Appointing Directors                                       O
                                                corp19941215 Minutes of the First Meeting of the Directors                                           O
                                                corp19950105 Copy Knox Licensing Ltd Bearer Share Certificate No. 3                                  C


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                                                   corp19950105 Copy Pevril Licensing Ltd Bearer Share Certificate No. 3                                                              C
                                                   corp19950105 Knox Licensing Shareholder's Meeting Minutes re issue of Shares to Lakewood                                           C
                                                   corp19950105 Pevril Licensing Shareholder's Meeting Minutes re issue of Shares to Lakewood                                         C
                                                   corp20010619 Lakewood Directors' Written Resolutions re Change of Director to Screen                                               C
                                                   corp20050426 Lakewood Director's Written Resolutions re Redemption from Anova                                                      O
                                                   corp20050426 Lakewood Shareholder's Written Resolutions re Change of Directors                                                     O
                                                   corp20060531 Lakewood Minutes of Meeting of Directors re Re-registration of the Company                                            C
                                                   corp20060616 Memorandum and Articles of Association Following Re-registration of Lakewood Investments                              O
                                                   corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Lakewood Investments Ltd                      O
                                                   corp20070618 Lakewood Investments Ltd Director's Written Resolutions re Various Edge Transactions with Lakewood LLC


ANALSEN040 HARRISON CAPITAL INVESTMENTS LIMITED    corp20050921 Harrison Memorandum and Articles of Association                                                                       O
                                                   corp20050921 Harrison Certificate of Incorporation                                                                                 O
                                                   corp20050921 Original Harrison Share Certificate No. 1 issued to Lakewood LLC                                                      O
                                                   corp20070618 Harrison Capital Investments Ltd Director's Written Resolutions re Redemption and Transfer of Funds to Screen         O
                                                   corp20070618 Lakewood Investments LLC Manager's Written Resolutions re Various Edge Transactions with Lakewood Ltd                 O
                                                   corp20070630 Lakewood Invesments LLC Membership Certificate No. 2 Issued to Chamberlain for the Seneca Trust                       O
                                                   corp20070630 Lakewood Investments LLC Amended Operating Agreement (2 copies)                                                       O
                                                   corp20070630 Lakewood Investments LLC Member's Written Resolutions re New Operating Agreement and Various Matters                  O
                                                   corp20070630 Lakewood Investments LLC Register of Managers and Officers                                                            O
                                                   corp20070630 Lakewood Investments LLC Register of Members                                                                          O
                                                   corp20100325 Certificate of Discontinuance Issued by the BVI Registrar of Corporate Affairs to Harrison Capital Investments Ltd    O


APBBCTO010 PEARL BROCKMAN CHILDREN'S TRUST NO. 1   trst20060824 Deed of Removal, Appointment & Indemnity re Pearl Brockman Children Trust I                                           O
                                                   trst19880524 Codicial to Will Creating Four Trusts - Original Certfied Copy                                                        O
                                                   trst20060517 Copy Cashier's Check Payable to Grosvenor Trust Company No. 29703808 (5 copies)                                       C
                                                   trst20060517 Copy Cashier's Check Payable to Grosvenor Trust Company No. 29703809 (5 copies)                                       C
                                                   trst20060517 Copy Cashier's Check Payable to Grosvenor Trust Company No. 29703810 (5 copies)                                       C
                                                   trst20060517 Copy Cashier's Check Payable to Grosvenor Trust Company No. 29703811 (1 copy)                                         C
                                                   trst20060517 Original Whitney Bank Cashier's Check Purchaser's Receipt re No. 29703808                                             O
                                                   trst20060517 Original Whitney Bank Cashier's Check Purchaser's Receipt re No. 29703809                                             O
                                                   trst20060517 Original Whitney Bank Cashier's Check Purchaser's Receipt re No. 29703810                                             O
                                                   trst20060517 Original Whitney Bank Cashier's Check Purchaser's Receipt re No. 29703811                                             O
                                                   corr20060117 Letter from Whitney Bank re Account Balance                                                                           O
                                                   corr20060517 Letter from Whitney Bank re Account Number                                                                            O
                                                   misc20040618 Original City of Houston Certificate of Death for Pearl Brockman                                                      O
                                                   trst20060222 Original Letters Testamentary Issued by the Probate Court, Harris County, Texas                                       O
                                                   misc20070706 IRS Form 3520 Annual Return for Foreign Trusts for Pearl Brockman Children's Trust I                                  C


APBBCTT010 PEARL BROCKMAN CHILDREN'S TRUST NO. 2   trst20060824 Deed of Removal, Appointment & Indemnity re Pearl Brockman Children Trust II                                          O
                                                   misc20070706 IRS Form 3520 Annual Return for Foreign Trusts for Pearl Brockman Children's Trust II                                 C


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APBBGTO010 PEARL BROCKMAN GRANDCHILDREN'S TRUST NO. 1   trst20060824 Deed of Removal, Appointment & Indemnity re Pearl Brockman Grandchildren Trust I                                              O
                                                        misc20070706 IRS Form 3520 Annual Return for Foreign Trusts for Pearl Brockman Grandchildren's Trust I                                     C


APBBGTT010 PEARL BROCKMAN GRANDCHILDREN'S TRUST NO. 2   trst20060824 Deed of Removal, Appointment & Indemnity re Pearl Brockman Grandchildren Trust II                                             O
                                                        misc20070706 IRS Form 3520 Annual Return for Foreign Trusts for Pearl Brockman Grandchildren's Trust II                                    C


APOPABE010 ABERDEEN CHARITABLE TRUST                    agre20031001 Financial Advirsor's Contract with Wedge Consulting and Carlos Kepke                                                          O
                                                        corp20001012 Original Addington Trading LLC Bearer Membership Certificate                                                                  O
                                                        trst20031001 Trust Indenture (2 originals in the envelope)                                                                                 O
                                                        corp19960719 Copy Addington Trading Certificate of Incorporation                                                                           C
                                                        corp20020605 Copy Fade Certificate of Renewal                                                                                              C
                                                        corp20000616 Copy Trout Enterprises Ltd Certificate of Incorporation                                                                       C
                                                        agre20000616 Option Agreement between Fade and RTB re Trout Shares                                                                         O
                                                        agre20000616 Option Agreement between Fade and RTB re Trout Shares                                                                         C
                                                        agre20000616 Option Agreement between Fade and RTBII re Trout Shares                                                                       O
                                                        agre20000616 Option Agreement between Fade and RTBII re Trout Shares                                                                       C
                                                        agre20031001 Option Agreement between Fade and DKB re Trout Shares (2 originals)                                                           O
                                                        agre20031001 Option Agreement between Fade and Andrea Brockman re Trout Shares (2 originals)                                               O
                                                        agre20031001 Option Agreement between Fade and Christopher Brockman re Trout Shares (2 originals)                                          O
                                                        agre20031001 Option Agreement between Fade and Robert Fennell re Trout Shares (2 originals)                                                O
                                                        trst20080815 Maritime Trustee's Resolutions re Dividends from Warwick of Cross Trees Proceeds and Donation to Aberdeen Charitable Trust    O


APOPABE020 ADDINGTON TRADING LLC                        agre20020102 Consultant Agreement with Wedge Consulting                                                                                    O
                                                        corp19960719 Original Addington Trading Ltd Bearer Share Certificte No. 1                                                                  O
                                                        corp20001012 Articles of Organization                                                                                                      O
                                                        corp20001012 Certificate of Notary Public                                                                                                  O
                                                        corp20001012 Endorsement Certificate of Articles of Organization                                                                           O
                                                        corp20001012 Manager's Resolutions on Incorporation                                                                                        O
                                                        corp20001012 Minutes of the Organizational Meeting of the Organizer                                                                        O
                                                        corp20001012 Morning Star Holdings Designation and Acceptance of Registered Agent                                                          O
                                                        corp20001012 Operating Agreement                                                                                                           O
                                                        corp20001012 Resignation of Organizer's Rights                                                                                             O
                                                        corp20020214 Manager's Resolutions re Amendment to Articles of Organization                                                                C
                                                        corp20020312 Articles of Amendment to Articles of Organization                                                                             O
                                                        corp20020318 Endorsement Certificate of Articles of Amendment                                                                              O
                                                        corp20021012 Certificate of Formation                                                                                                      O
                                                        corp20040817 Certificate of Renewal                                                                                                        O
                                                        corp20050607 Certificate of Renewal                                                                                                        O
                                                        corp20061012 Addington LLC Certificate of Renewal 2006                                                                                     O
                                                        corp20070618 Addington Trading Ltd Director's Written Resolutions re Various Edge Transactions                                             O


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                                                corp20070630 Addington Trading LLC Member's Written Resolutions re New Operating Agreement and Various Matters             O
                                                corp20070630 Addington Trading LLC Membership Certificate No. 3 Issued to Willow for the Aberdeen Trust                    O
                                                corp20070630 Addington Trading LLC Register of Managers and Officers                                                       O
                                                corp20070630 Addington Trading LLC Register of Members                                                                     O
                                                corp20070630 Addington Trading LLC Amended Operating Agreement (2 copies)                                                  O
                                                corp20070828 Addington Trading LLC Certificate of Renewal 2007-2008                                                        O
                                                corp20080815 Addington Trading LLC's Manager's Resolutions re Contribution from Aberdeen Trust and Cross Trees Proceeds    O
                                                corp20090407 Addington Trading LLC Nevis Certificate of Renewal 2008-2009                                                  O
                                                corp20090915 Addington Trading LLC Nevis Certificate of Renewal 2009-2010                                                  O


APOPABE030 ADDINGTON TRADING LTD                agre19990401 Consultant Agreement with Financial Counselors                                                                O
                                                agre20011231 Novation Agreement with Wedge Consulting                                                                      O
                                                corp19960719 Articles of Association                                                                                       O
                                                corp19960719 Copy Certificate of Incorporation                                                                             C
                                                corp19960719 Memoradum of Association                                                                                      O
                                                corp19960719 Minutes of the First Meeting of Directors on Incorporation                                                    O
                                                corp19960719 Resolution of the Subscriber on Incorporation                                                                 O
                                                corp19970306 Original Certificate of Good Standing                                                                         O
                                                corp20000428 Letter from GH Resigning as Director of Addington Trading Ltd                                                 O
                                                corp20000428 Minutes of Director's Meeting re Change of Director                                                           O
                                                corp20030101 Director's Resolution re Revocation of Serco Power of Attorney                                                C
                                                corp20030531 Director's Resolutions re Gift and Redemption of Edge Class B                                                 O
                                                corp20031231 Resolutions of the Board of Directors re Bank Signatories                                                     O
                                                corp20060531 Addington Minutes of Meeting of Directors re Re-registration of the Company                                   C
                                                corp20060616 Memorandum and Articles of Association Following Re-registration of Addington Trading Limited                 O
                                                corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Addington Trading Ltd                 O
                                                corp20070618 Addington Trading Ltd Director's Written Resolutions re Various Edge Transactions                             O


APOPBEN010 THE BENEVOLENT CHARITABLE TRUST      agre19981126 Amendment to Share Sale and Purchase Agreement                                                                O
                                                agre19981126 Assignment Agreement from Rob and Jerilyn Nalley to R&J Partners                                              O
                                                agre20020102 Financial Advisor's Contract with Wedge Consulting and Carlos Kepke                                           O
                                                corp20000322 Original Plattoon LLC Bearer Membership Certificate No. 1                                                     O
                                                corp20000322 Original Reka LLC Bearer Membership Certificate No. 1                                                         O
                                                corp20000322 Original Vivant LLC Bearer Membership Certificate No. 1                                                       O
                                                trst19970625 The Benevolent Trust Indenture                                                                                O
                                                trst19970625 The Benevolent Trust Indenture - copy                                                                         C
                                                trst19980421 Memorandum of Appointment from Benevolent Charitable Trust                                                    O
                                                trst20000204 Benevolent Trustee Resolution re Shareholdings                                                                O
                                                trst20000308 Deed of Appointment and Removal of Trustees                                                                   O
                                                trst20020726 Trustee Memorandum No. 1                                                                                      O
                                                corr19940223 Letter from Carlos Kepke to DJ re Guernsey Court amendments                                                   O


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                                                trst19940127 Order of the Royal Court of Guernsey                                                             C
                                                trst19940127 Application for Order of the Royal Court of Guernsey                                             C
                                                trst20070618 The Benevolent Charitable Trust Trustee's Resolutions re Various Edge Transactions (4 copies)    O


APOPBEN020 VIVANT HOLDINGS LLC                  agre19971023 Consultant Agreement with Financial Counselors                                                   O
                                                agre20011130 Charge Over Shares from Fairway to Vivant                                                        O
                                                agre20011130 Promissory Note from Fairway Enterprises                                                         O
                                                agre20011130 Share Sale and Purchase Agreement with Fairway Enterprises                                       O
                                                agre20011231 Novation Agreement with Wedge Consulting                                                         O
                                                corp19971023 Articles of Organization                                                                         O
                                                corp19971023 Certificate of Formation                                                                         O
                                                corp19971023 Certificate of Notary Public                                                                     O
                                                corp19971023 Designation and Acceptance of Registered Agent                                                   O
                                                corp19971023 Endorsement Certificate                                                                          O
                                                corp19971023 Operating Agreement                                                                              O
                                                corp19971023 Resignation of Organization Rights                                                               O
                                                corp19971229 Minutes of First Meeting of the Members                                                          O
                                                corp20000322 Manager's Resolutions on Incorporation 2                                                         O
                                                corp20000322 Manager's Resolutions on Incorporation                                                           O
                                                corp20010627 Certificate of Renewal                                                                           O
                                                corp20020605 Certificate of Renewal                                                                           O
                                                corp20030924 Certificate of Renewal                                                                           O
                                                corp20040509 Vivant Certificate of Renewal 2005                                                               O
                                                corp20070618 Vivant Holdings LLC Manager's Written Resolutions re Various Edge Transactions                   O
                                                corp20071101 Vivant Holdings LLC Declaration of Involuntary Dissolution                                       C


APOPBEN030 PLATTOON INVESTMENTS LLC             agre19971024 Consultant Agreement with Financial Counselors                                                   O
                                                agre20011130 Charge Over Shares made by Fairway Enterprises                                                   O
                                                agre20011130 Promissory Note Granted by Fairway Enterprises                                                   O
                                                agre20011130 Share Sale and Purchase Agreement with Fairway Enterprises                                       O
                                                agre20011231 Novation Agreement with Wedge Consulting                                                         O
                                                corp19950516 Minutes of the Meeting of Directors of Plattoon Investments Ltd                                  O
                                                corp19971024 Articles of Organization                                                                         O
                                                corp19971024 Certificate of Formation                                                                         O
                                                corp19971024 Certificate of Notary Public                                                                     O
                                                corp19971024 Designation and Acceptance of Registered Agent                                                   O
                                                corp19971024 Endorsement Certificate                                                                          O
                                                corp19971024 Operating Agreement                                                                              O
                                                corp19971024 Resignation of Organization Rights                                                               O
                                                corp19971229 Minutes of the First Meeting of the Members                                                      O
                                                corp19981117 Certificate of Good Standing                                                                     O


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                                            corp20000322 Manager's Resolutions on Incorporation 2                                                                O
                                            corp20000322 Manager's Resolutions on Incorporation                                                                  O
                                            corp20010627 Certificate of Renewal for 2002                                                                         O
                                            corp20020605 Certificate of Renewal for 2003                                                                         O
                                            corp20030924 Certificate of Renewal for 2004                                                                         O
                                            corp20050509 Plattoon Certificate of Renewal 2005                                                                    O
                                            corp20061012 Plattoon Certificate of Renewal 2006                                                                    O
                                            corp20070618 Plattoon Investments LLC Manager's Written Resolutions re Various Edge Transactions (4 copies)          O
                                            corp20070630 Plattoon Investments LLC Amended Operating Agreement (2 copies)                                         O
                                            corp20070630 Plattoon Investments LLC Member's Written Resolutions re New Operating Agreement and Various Matters    O
                                            corp20070630 Plattoon Investments LLC Membership Certificate No. 2 Issued to Gorry for the Benevolent Trust          O
                                            corp20070630 Plattoon Investments LLC Register of Managers and Officers                                              O
                                            corp20070630 Plattoon Investments LLC Register of Members                                                            O
                                            corp20070828 Plattoon Certificate of Renewal 2007-2008                                                               O
                                            corp20080725 Plattoon Certificate of Renewal 2008-2009                                                               O
                                            corp20090915 Plattoon Investments LLC Nevis Certificate of Renewal 2009-2010                                         O


APOPBEN040 REKA CORPORATION LLC             agre19971024 Consuiltant Agreement with Financial Counselors                                                         O
                                            agre20011130 Agreement for Sale and Purchase of Reka Ltd Shares with Fairway Enterprises                             O
                                            agre20011130 Charge over Reka Ltd Shares between Fairway Enterprises and Reka LLC                                    O
                                            agre20011130 Promissory Note from Fairway Enterprises to Reka LLC                                                    O
                                            agre20011231 Novation Agreement with Wedge Consulting                                                                O
                                            corp19971024 Certificate of Notary Public                                                                            O
                                            corp19971024 Reka Articles of Organization                                                                           O
                                            corp19971024 Reka Certificate of Formation                                                                           O
                                            corp19971024 Reka Designation and Acceptance of Registered Agent                                                     O
                                            corp19971024 Reka Endorsement Certificate                                                                            O
                                            corp19971024 Reka Operating Agreement                                                                                O
                                            corp19971024 Reka Resignation of Organization Rights                                                                 O
                                            corp19981117 Reka Certificate of Good Standing                                                                       O
                                            corp20000322 Manager's Resolutions re Director                                                                       O
                                            corp20000322 Manager's Resolutions re Various Matters                                                                O
                                            corp20010627 Reka Certificate of Renewal                                                                             O
                                            corp20020605 Reka Certificate of Renewal                                                                             O
                                            corp20030924 Reka Certificate of Renewal                                                                             O
                                            corp20050509 Reka Certificate of Renewal 2005                                                                        O
                                            corp20061012 Reka Certificate of Renewal 2006                                                                        O
                                            corp20051103 Reka Certificate of Renewal 2005                                                                        O
                                            corp20070618 Reka Co LLC Manager's Written Resolutions re Various Edge Transactions (2 copies)                       O
                                            corp20070828 Reka Co LLC Certificate of Renewal 2007-2008                                                            O
                                            corp20080725 Reka Co LLC Certificate of Renewal 2008-2009                                                            O


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APOPINV010   THE INVERNESS CHARITABLE TRUST          agre20031001 Financial Advisor's Contract with Wedge                                                               O
                                                     corp20031002 Original Certificate of Ownership in Choice                                                           O
                                                     trst20031001 Trust Indenture (2 copies of the original trust deed)                                                 O
                                                     trst20031002 Trustee Memorandum No. 1                                                                              O
                                                     corp20031001 Douglas Certificate of Formation - copy                                                               C
                                                     corp20031001 Choice Investments Certificate of Formation - copy                                                    C
                                                     corp20030924 Slice Holdings Certificate renewal - copy                                                             C
                                                     agre20031001 Option Agreement between Slice Holdings and RTB re Douglas Shares (2 originals)                       O
                                                     agre20031001 Option Agreement between Slice Holdings and RTBII re Douglas Shares (2 originals)                     O
                                                     agre20031001 Option Agreement between Slice Holdings and DKB re Douglas Shares (2 originals)                       O
                                                     agre20031001 Option Agreement between Slice Holdings and Robert Fennell re Douglas Shares (2 originals)            O
                                                     agre20031001 Option Agreement between Slice Holdings and Andrea Brockman re Douglas Shares (2 originals)           O
                                                     agre20031001 Option Agreement between Slice Holdings and Christopher Brockman re Douglas Shares (2 originals)      O


APOPINV020   CHOICE INVESTMENTS LLC                  agre20031001 Consultant Agreement with Wedge Consulting                                                            O
                                                     corp20031001 Certificate of Notary Public                                                                          O
                                                     corp20031001 Choice Articles of Organization                                                                       O
                                                     corp20031001 Choice Certificate of Formation                                                                       O
                                                     corp20031001 Choice Endorsement Certificate                                                                        O
                                                     corp20031001 Choice Operating Agreement                                                                            O
                                                     corp20031001 Designation and Acceptance of Registered Agent                                                        O
                                                     corp20031001 Minutes of the Organizational Meeting of the Organizer                                                O
                                                     corp20031001 Resignation of Organization Rights                                                                    O
                                                     corp20040817 Certificate of Renewal 2004                                                                           O
                                                     corp20050607 Certificate of Renewal 2005                                                                           O
                                                     corp20061012 Choice Certificate of Renewal 2006                                                                    O
                                                     corp20070630 Choice Investments LLC Member's Written Resolutions re New Operating Agreement and Various Matters    O
                                                     corp20070630 Choice Investments LLC Membership Certificate No. 2 Issued to Willow for the Inverness Trust          O
                                                     corp20070630 Choice Investments LLC Register of Managers and Officers                                              O
                                                     corp20070630 Choice Investments LLC Register of Members                                                            O
                                                     corp20070630 Choice Investments LLC Amended Operating Agreement (2 copies)                                         O
                                                     corp20070828 Choice Investments LLC Certificate of Renewal 2007-2008                                               O
                                                     corp20080725 Choice Investments LLC Certificate of Renewal 2008-2009                                               O
                                                     corp20090915 Choice Investments LLC Nevis Certificate of Renewal 2009-2010                                         O


APOPLIN010   LINEAGE CHARITABLE TRUST II             agre20031001 Financial Advisor's Contract with Wedge Consulting and Carlos Kepke                                   O
                                                     corp20000322 Original Commitment Holdings LLC Bearer Share Certificate No. 1                                       O
                                                     trst20000204 Lineage Trustee Resolution re Commitment Holdings Shares                                              O
                                                     trst20031001 The Lineage Charitable Trust II Trust Indenture                                                       O
                                                     trst20031001 The Lineage Charitable Trust II Trust Indenture - unexecuted copy                                     C


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                                                 agre20031001 Option Agreement between Wedge Consulting and RTB re Brown Shares (2 originals)                        O
                                                 agre20020101 Option Agreement between Wedge Consulting and RTBII re Brown Shares                                    C
                                                 agre20020101 Option Agreement between Wedge Consulting and RTBII re Brown Shares (2 originals)                      O
                                                 agre20031001 Option Agreement between Wedge Consulting and DKB re Brown Shares (2 originals)                        O
                                                 agre20031001 Option Agreement between Wedge Consulting and Robert Fennell re Brown Shares (2 originals)             O
                                                 agre20031001 Option Agreement between Wedge Consulting and Andrea Brockman re Brown Shares (2 originals)            O
                                                 agre20031001 Option Agreement between Wedge Consulting and Christopher Brockman re Brown Shares (2 originals)       O


APOPLIN020   COMMITMENT HOLDINGS LLC             agre19971029 Consultant Agreement with Financial Counselors                                                         O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                                               O
                                                 agre20030610 Deed of Gift from Commitment to Addington                                                              O
                                                 corp19971029 Artilces of Organization                                                                               O
                                                 corp19971029 Certificate of Formation                                                                               O
                                                 corp19971029 Certificate of Notary Public                                                                           O
                                                 corp19971029 Commiitment Operating Agreement                                                                        O
                                                 corp19971029 Designation and Acceptance of Registered Agent                                                         O
                                                 corp19971029 Endorsement Certificate                                                                                O
                                                 corp19971029 Resignation of Organization Rights                                                                     O
                                                 corp19971229 Minutes of the First Meeting of the Members                                                            O
                                                 corp20000322 Manager's Resolutions on Incorporation 2                                                               O
                                                 corp20000322 Manager's Resolutions on Incorporation                                                                 O
                                                 corp20010627 Commitment Certificate of Renewal 2001                                                                 O
                                                 corp20020401 Original Replacement TIL Share Certificate                                                             O
                                                 corp20020605 Commitment Certificate of Renewal 2002                                                                 O
                                                 corp20030610 Manager's Resolutions re Deed of Gift to Addington                                                     O
                                                 corp20030800 Manager's Resolutions re Share Option Agreement                                                        C
                                                 corp20030924 Commitment Certificate of Renewal 2003                                                                 O
                                                 corp20050509 Commitment Certificate of Renewal 2005                                                                 O
                                                 corp20061012 Commitment Certificate of Renewal 2006                                                                 O
                                                 corr20030503 Letter from Commitment Holdings to Edge Investments Fund Ltd                                           C
                                                 corr20030503 Letter from Concept Holdings to Edge Investments Fund Ltd                                              C
                                                 corp20070618 Commitment Holdings LLC Manager's Written Resolutions re Various Edge Transactions                     O
                                                 corp20070630 Commitment Holdings LLC Amended Operating Agreement                                                    O
                                                 corp20070630 Commitment Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters    O
                                                 corp20070630 Commitment Holdings LLC Membership Certificate No. 2 Issued to Willow for the Lineage II Trust         O
                                                 corp20070630 Commitment Holdings LLC Register of Managers and Officers                                              O
                                                 corp20070630 Commitment Holdings LLC Register of Members                                                            O

                                                 corp20070828 Commitment Holdings LLC Certificate of Renewal 2007-2008                                               O

                                                 corp20080725 Commitment Holdings LLC Certificate of Renewal 2008-2009                                               O

                                                 corp20090915 Commitment Holdings LLC Nevis Certificate of Renewal 2009-2010                                         O




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APOPMAR010 THE MARITIME CHARITABLE TRUST         agre20030102 Financial Advisor's Contract with Wedge and Carlos Kepke                                                                                    O
                                                 corp20000322 Original Warwick Holdings LLC Membership Certificate No. 1                                                                                  O
                                                 trst19970619 The Maritime Charitable Trust Indenture                                                                                                     O
                                                 trst19970619 The Maritime Charitable Trust Indenture - copy                                                                                              C
                                                 trst19980421 Memorandum of Appointment by Maritime Trust                                                                                                 C
                                                 trst20000204 Trustee Resolution re Warwick LLC Shares                                                                                                    O
                                                 trst20000308 Deed of Appointment & Removal of Trustees                                                                                                   O
                                                 trst20020600 Deed of Retirement and Appointment of New Trustee                                                                                           O
                                                 trst20020726 The Maritime Trustee Memorandum No. 1                                                                                                       O
                                                 trst20070618 The Maritime Charitable Trust Trustee's Resolutions re Various Edge Transactions
                                                 trst20080815 Maritime Trustee's Resolutions re Dividends from Warwick of Cross Trees Proceeds and Donation to Aberdeen Charitable Trust - Signed Copy    O


APOPMAR020 WARWICK INVESTMENTS LLC               agre19971028 Consultant Agreement with Financial Counselors                                                                                              O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                                                                                    O
                                                 corp19950531 Original Warwick Investment Holdings Ltd Bearer Share Certificate                                                                           O
                                                 corp19971028 Articles of Organization                                                                                                                    O
                                                 corp19971028 Certificate of Formation                                                                                                                    O
                                                 corp19971028 Certificate of Notary Public                                                                                                                O
                                                 corp19971028 Designation and Acceptance of Registered Agent                                                                                              O
                                                 corp19971028 Endorsement Certificate                                                                                                                     O
                                                 corp19971028 Operating Agreement                                                                                                                         O
                                                 corp19971028 Resignation of Organizationl Rights                                                                                                         O
                                                 corp19971229 Minutes of the First Meeting of the Members                                                                                                 O
                                                 corp20000322 Manager's Resolutions on Incorporation 2                                                                                                    O
                                                 corp20000322 Manager's Resolutions on Incorporation                                                                                                      O
                                                 corp20010627 Certificate of Renewal                                                                                                                      O
                                                 corp20020605 Certificate of Renewal                                                                                                                      O
                                                 corp20030924 Certificate of Renewal                                                                                                                      O
                                                 corp20050509 Certificate of Renewal 2005                                                                                                                 O
                                                 corp20061012 Warwick LLC Certificate of Renewal 2006                                                                                                     O
                                                 corp20070630 Warwick Holdings LLC Amended Operating Agreement (2 copies)                                                                                 O
                                                 corp20070630 Warwick Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters                                            O
                                                 corp20070630 Warwick Holdings LLC Membership Certificate No. 2 Issued to Chelsea for the Maritime Trust                                                  O
                                                 corp20070630 Warwick Holdings LLC Register of Managers and Officers                                                                                      O
                                                 corp20070630 Warwick Holdings LLC Register of Members                                                                                                    O

                                                 corp20070828 Warwick Holdings LLC Certificate of Renewal 2007-2008                                                                                       O
                                                 corp20080725 Warwick Holdings LLC Certificate of Renewal 2008-2009                                                                                       O
                                                 corp20080815 Warwick Holdings LLC's Manager's Resolutions re Dividend from Warwick Ltd of Cross Trees Proceeds and Dividend to Maritime Trust            O


APOPMAR030 WARWICK INVESTMENTS LTD               agre19950801 Share Pledge Agreement with Grosvenor re Ginger Shares                                                                                      O
                                                 agre19950831 Share Pledge Agreement with Skye re Ginger Shares                                                                                           O


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                                                    agre19950831 Promissory Note by The Ginger Trust to Warwick Ltd                                                                                         O
                                                    agre19950930 Promissory Note by The Ginger Trust to Warwick Ltd                                                                                         O
                                                    agre19951031 Promissory Note by The Ginger Trust to Warwick Ltd                                                                                         O
                                                    agre19960531 Promissory Note by The Ginger Trust to Warwick Ltd                                                                                         O
                                                    agre19960926 Promissory Note by The Ginger Trust to Warwick Ltd 2                                                                                       O
                                                    agre19960926 Promissory Note by The Ginger Trust to Warwick Ltd                                                                                         O
                                                    agre19971231 Promissory Note by The Ginger Trust to Warwick Ltd                                                                                         O
                                                    agre20000401 Consultant Agreement with Financial Counselors                                                                                             O
                                                    agre20011231 Novation Agreement with Wedge Consulting                                                                                                   O
                                                    corp19950526 Resolution of the Subscriber appointing Directors                                                                                          O
                                                    corp19950526 Warwick Ltd Articles of Association                                                                                                        O
                                                    corp19950526 Warwick Ltd Certificate of Incorporation                                                                                                   O
                                                    corp19950526 Warwick Ltd Memorandum of Association                                                                                                      O
                                                    corp19950531 Minutes of the First Meeting of the Directors                                                                                              O
                                                    corp19950731 Original Ginger Holdings Share Certificate No. 1 issued to Skye                                                                            O
                                                    corp19961108 Certificate of Good Standing                                                                                                               O
                                                    corp19970321 Certificate of Good Standing                                                                                                               O
                                                    corp20000428 Letter from Gordon Howard resigning as a Director                                                                                          O
                                                    corp20000428 Letter from Jill Clifford resigning as a Director                                                                                          O
                                                    corp20000428 Minutes of the Directors' Meeting Changing Directors                                                                                       O
                                                    corp20010514 Original Ginger Holdings Share Certificate No. 3 issued to Skye                                                                            O
                                                    corp20010514 Original Ginger Holdings Share Certificate No. 5 issued to Warwick                                                                         O
                                                    corp20010514 Share Transfer Form to Ginger Trust re Ginger Holdings Shares                                                                              O
                                                    corp20010514 Share Transfer Form to Skye re Ginger Holdings Shares                                                                                      O
                                                    corp20060531 Warwick Ltd Minutes of Meeting of Directors re Re-registration of the Company                                                              C
                                                    corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Warwick Ltd                                                        O
                                                    corp20060616 Warwick Memorandum and Articles of Association Following Re-registration                                                                   O
                                                    agre20080915 Release and Discharge Between Sage Trust, Ginger Holdings and Warwick Ltd Following Cross Trees Sale - Signed by all Parties (3 copies)    O
                                                    corp20080815 Warwick Investments Ltd's Director's Resolutions re Dividend to Warwick LLC of Cross Trees Proceeds                                        O


APOPSER010   THE SERVICE CHARITABLE TRUST II        agre19970625 Financial Advisor's Contract with Financial Counseling and Carlos Kepke                                                                    O
                                                    agre20011231 Novation of Financial Advisor's Agreement                                                                                                  O
                                                    corp20000322 Original Cascade Holdings Bearer Membership Certificate No. 1                                                                              O
                                                    trst19970625 The Service Charitable Trust II Trust Indenture                                                                                            O
                                                    trst19970625 The Service Charitable Trust II Trust Indenture (2 copies)                                                                                 C
                                                    trst19980421 The Service Charitable Trust Memorandum of Appointment of Total Shares                                                                     O
                                                    trst20000204 Service Trustee Resolution re Cascade Holdings Shares                                                                                      C
                                                    trst20000308 Deed of Appointment & Removal of Trustees                                                                                                  O
                                                    trst20020726 The Service II Trustee Memorandum No. 1                                                                                                    O
                                                    trst20070608 The Service Charitable Trust II Trustee's Resolutions re Providian and Prime Closure and Transfer of Assets                                O
                                                    trst20070618 The Service Charitable Trust II Trustee's Resolutions re Various Edge Transactions                                                         O



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APOPSER020   CASCADE HOLDINGS LLC                agre19971027 Consultant Agreement with Financial Counselors                                                      O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                                            O
                                                 corp19950725 Original Rosefaire Development Bearer Share Certificate No. 1                                       O
                                                 corp19950725 Original Rosefaire Development Bearer Share Certificate No. 2                                       O
                                                 corp19971027 Articles of Organization                                                                            O
                                                 corp19971027 Certificate of Formation                                                                            O
                                                 corp19971027 Certificate of Notary Public re Articles of Organization                                            O
                                                 corp19971027 Designation and Acceptance of Registered Agent                                                      O
                                                 corp19971027 Endorsement Certificate                                                                             O
                                                 corp19971027 Operating Agreement                                                                                 O
                                                 corp19971027 Resignation of Organization Rights                                                                  O
                                                 corp20000322 Resolutions of the Manager on Incorporation 2                                                       O
                                                 corp20000322 Resolutions of the Manager on Incorporation                                                         O
                                                 corp20010726 Certificate of Renewal                                                                              O
                                                 corp20020605 Certificate of Renewal                                                                              O
                                                 corp20030127 Original Touchstone Investments Bearer Share Certificate No. 1                                      O
                                                 corp20030127 Original Touchstone Investments Bearer Share Certificate No. 2                                      O
                                                 corp20030127 Original Vanguard Investments Bearer Share Certificate No. 1                                        O
                                                 corp20030127 Original Vanguard Investments Bearer Share Certificate No. 2                                        O
                                                 corp20030924 Certificate of Renewal                                                                              O
                                                 corp20050509 Cascade Certificate of Renewal 2005                                                                 O
                                                 corp20061103 Cascade Holdings LLC Certificate of Renewal 2006                                                    O
                                                 corp20070618 Cascade Holdings LLC Manager's Written Resolutions re Various Edge Transactions (4 copies)          O
                                                 corp20070630 Cascade Holdings LLC Amended Operating Agreement (2 copies)                                         O
                                                 corp20070630 Cascade Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters    O
                                                 corp20070630 Cascade Holdings LLC Membership Certificate No. 2 Issued to Chelsea for the Service Trust II        O
                                                 corp20070630 Cascade Holdings LLC Register of Managers and Officers                                              O
                                                 corp20070630 Cascade Holdings LLC Register of Managers and Officers                                              O
                                                 corp20070828 Cascade Holdings LLC Certificate of Renewal 2007-2008                                               O
                                                 corp20080725 Cascade Holdings LLC Certificate of Renewal 2008-2009                                               O
                                                 corp20090915 Cascade Holdings LLC Nevis Certificate of Renewal 2009-2010                                         O


APOPSER030   VANGUARD INVESTMENTS TRADING LTD    agre20030130 Consultant Agreement with Wedge Consulting                                                          O
                                                 corp20030127 Subscriber's Resolution re Appointment of Director                                                  O
                                                 corp20030127 Vanguard Articles of Association                                                                    O
                                                 corp20030127 Vanguard Certificate of Incorporation                                                               O
                                                 corp20030127 Vanguard Memorandum of Association                                                                  O
                                                 corp20030130 Director's Resolutions in Incorporation                                                             O
                                                 corp20030513 Foundation Capital Strategies Share Certificate No. 8                                               C
                                                 corp20060531 Vanguard Minutes of Meeting of Directors re Re-registration of the Company                          C



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                                                   corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Vanguard Investments                               C
                                                   corp20060616 Memorandum and Articles of Association Following Re-registration of Vanguard                                               O
                                                   corp20070618 Vanguard Investments Ltd Director's Written Resolutions re Various Edge Transactions                                       O
                                                   corp20070625 Vanguard Investments Ltd Director's Written Resolutions re Transfer of FCS Shares to Arrakis and Greendale Trust           O
                                                   corp20070625 Foundation Capital Strategies Shares Transfer Form from Vanguard Investments to Arrakis Investments                        O
                                                   corp20070625 Foundation Capital Strategies Shares Transfer Form from Vanguard Investments to Codan Trust Company for Greendale Trust    O


APOPSER040   ROSEFAIRE DEVELOPMENT LTD             agre19950725 Consultant Agreement between Rosefaire and Financial Counselors                                                            O
                                                   agre19990226 Insurance Agreement between Trust Insurance and Rosefaire                                                                  O
                                                   agre20000228 FCS Intellectual Property Agreement re Impediment Events                                                                   C
                                                   agre20000228 FCS Intellectual Property Agreement re Payment to Rosefaire                                                                C
                                                   agre20000228 FCS Intellectual Property Assignment to Foundation Capital                                                                 C
                                                   agre20000228 Foundation Capital Shareholder Agreement                                                                                   C
                                                   agre20011231 Novation Agreement with Wedge Consulting                                                                                   O
                                                   corp19950725 Original Rosefaire Certificate of Incorporation                                                                            O
                                                   corp19950725 Resolution of Rosefaire Subscriber re Appointment of Directors                                                             O
                                                   corp19950725 Rosefaire Articles of Association                                                                                          O
                                                   corp19950725 Rosefaire Memorandum of Association                                                                                        O
                                                   corp19960725 Resolutions of the Directors on incorporation                                                                              O
                                                   corp19990409 Rosefaire Certificate of Directors and Officers                                                                            O
                                                   corp19990514 Letter from Jill Clifford Resigning as a Director                                                                          C
                                                   corp19990528 Minutes of Director's Meeting re Resignation of Jill Clifford as Director of Rosefaire                                     C
                                                   corp20000225 Original Gate Advisors Share Certificate No. 2 issued to Rosefaire                                                         O
                                                   corp20000228 Director's Resolutions re Rosefaire appointment of Karen Pettifer to FCS Board of Directors                                O
                                                   corp20000228 Director's Resolutions re Rosefaire purchase of FCS Shares and Agreements                                                  O
                                                   corp20000301 Director's Resolutions re Appointment of Karen Pettifer as Director of Rosefaire                                           C
                                                   corp20000428 Director's Resolutions re Appointment of Screen Management as Director of Rosefaire                                        O
                                                   corp20000428 Letter of Resignation as Director from Gordon Howard                                                                       O
                                                   corp20000428 Letter of Resignation as Director from Karen Pettifer                                                                      O
                                                   corp20010515 Letter from Grosvenor to Meridian re Appointment of Ernest Morrison as Director                                            C
                                                   corp20010515 Letter of Resignation from Karen Pettifer as Director of Rosefaire                                                         C
                                                   corp20010621 Rosefaire Certificate of Incumbency                                                                                        O
                                                   corp20020406 Director's Resolutions re Rosefaire Power of Attorney to Serco Management                                                  O
                                                   corp20020406 Director's Resolutions re Rosefaire VP Bank Account Opening                                                                O
                                                   corp20020406 Rosefaire Power of Attorney to Serco Management                                                                            O
                                                   corp20030513 FCS Share Certificate No. 7 issued to Rosefaire                                                                            C
                                                   corp20031231 Director's Resolutions re Rosefaire VP Bank Signatories                                                                    O
                                                   corp20050426 Rosefaire Director's Written Resolutions re Redemption from Anova                                                          O
                                                   corp20060531 Rosefaire Minutes of Meeting of Directors re Re-registration of the Company                                                C
                                                   corp20060616 Memorandum and Articles of Association Following Re-registration of Rosefaire                                              O
                                                   corp20060616 Certificate of Re-registration Under BVI Business Companies Act 2004 re Rosefaire Development                              C


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                                                   rept20021008 Meade Malone Auditors' Report for Rosefaire Year Ended 31 December 2000                                                      C
                                                   rept20040227 KPMG Audited Financial Reports for Anova Fund and Anova Master Fund Ltd for Year Ended 2003                                  C
                                                   corp20070618 Rosefaire Development Ltd Director's Written Resolutions re Various Edge Transactions                                        O
                                                   corp20070625 Touchstone Investments Ltd Director's Written Resolutions re Transfer of FCS Shares to Arrakis and Greendale Trust           O
                                                   corp20070625 Foundation Capital Strategies Shares Transfer Form from Rosefaire Development to IID Partners Ltd                            O


APOPSER050   TOUCHSTONE INVESTMENTS TRADING LTD    agre20030130 Consultant Agreement with Wedge Consulting                                                                                   O
                                                   corp20030127 Subscriber's Resolution appointing the First Director                                                                        O
                                                   corp20030127 Touchstone Articles of Association                                                                                           O
                                                   corp20030127 Touchstone Certificate of Incorporation                                                                                      O
                                                   corp20030127 Touchstone Memorandum of Association                                                                                         O
                                                   corp20030130 Manager's Resolutions on Incorporation                                                                                       O
                                                   corp20030513 Foundation Capital Strategies Share Certificate No. 6                                                                        C
                                                   corp20060531 Touchstone Minutes of Meeting of Directors re Re-registration of the Company                                                 C
                                                   corp20060920 Certificate of Re-registration Under BVI Business Companies Act 2004 re Touchstone                                           O
                                                   corp20060920 Memorandum and Articles of Association Following Re-registration of Touchstone Investments                                   O
                                                   corp20070618 Touchstone Investments Ltd Director's Written Resolutions re Various Edge Transactions                                       O
                                                   corp20070625 Touchstone Investments Ltd Director's Written Resolutions re Transfer of FCS Shares to Arrakis and Greendale Trust           O
                                                   corp20070625 Foundation Capital Strategies Shares Transfer Form from Touchstone Investments to IID Partners Ltd                           O
                                                   corp20070625 Foundation Capital Strategies Shares Transfer Form from Touchstone Investments to Codan Trust Company for Greendale Trust    O


APOPSER060   FOUNDATION CAPITAL STRATEGIES LTD


APOPSER070   GATE ADVISORS LTD                     agre20020102 Consultant Agreement with Wedge Consulting Ltd                                                                               O
                                                   agre20000228 Gate Advisors Investment Advisory Agreement with Point Investments                                                           C
                                                   agre20000228 Side Letter to Investment Advisory Agreement with Point Investments                                                          C
                                                   agre20010101 Service Fee Agreement with Foundation Capital Strategies                                                                     C
                                                   corp20000217 Gate Articles of Association                                                                                                 C
                                                   corp20000217 Gate Certificate of Incorporation                                                                                            C
                                                   corp20000217 Gate Memorandum of Association                                                                                               C
                                                   corp20000225 Copy Gate Share Certificate No. 1 issued to Foundation Capital Strategies                                                    C
                                                   corp20000225 Copy Gate Share Certificate No. 2 issued to Rosefaire Development                                                            C
                                                   corp20000225 Letter from Coy Limited Resigning as Director                                                                                C
                                                   corp20000225 Letter from SHR Limited Resigning as Director                                                                                C
                                                   corp20000225 Minutes of First Meeting of the Directors on Incorporation                                                                   C
                                                   corp20001231 Members' Resolution re Service Fee Agreement - undated                                                                       C
                                                   corp20010212 Gate Certificate of Incumbency                                                                                               C
                                                   corp20011231 Members' Resoutlion re Financial Statements - undated                                                                        C
                                                   corp20020130 Gate Member's Resolution re Change of Director 2                                                                             C
                                                   corp20020130 Gate Member's Resolution re Change of Director                                                                               C
                                                   corp20020131 Gate Certificate of Incumbency                                                                                               C


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                                                  corp20020131 Gate Declaration re Shareholdings                                                                    C
                                                  corp20020430 Members' Resolutions re Payment of Dividend                                                          C
                                                  corp20020430 Unsigned and undated Members' Resolutions re Dividends                                               C
                                                  corp20020531 Members' Resolutions re Payment of Capital                                                           C
                                                  corp20020801 Gate Certificate of Incumbency                                                                       C
                                                  corp20021231 Members' Resoutlion re Auditors - undated                                                            C
                                                  corp20021231 Members' Resoutlion re Directors - undated                                                           C
                                                  corp20021231 Members' Resoutlion re Financial Statements - undated                                                C
                                                  corp20021231 Members' Resoutlion re Service Fee Agreement - undated                                               C
                                                  corp20030204 Gate Register of Directors and Officers                                                              C
                                                  corp20030204 Gate Register of Shareholders                                                                        C
                                                  corp20030304 Gate Members' Resolution re FCS Service Fee Agreement                                                C
                                                  corp20030304 Gate Members' Resolution re PWC Audit                                                                C
                                                  corp20031231 Members' Resoutlion re Banking - undated                                                             C
                                                  corp20031231 Members' Resoutlion re Directors - undated                                                           C
                                                  corp20031231 Members' Resoutlion re Financial Statements - undated                                                C
                                                  corp20031231 Members' Resoutlion re Service Fee Agreement - undated                                               C
                                                  corp20040517 BVI Certificate of Tax Exemption                                                                     C
                                                  corp20000217 Resolution of Subscriber appointing Directors                                                        C


APOPSER080   ARDSHEAL LTD


APOPSER090   ARDSHEAL (UK) LTD


APOPSHE010   THE SHETLAND CHARITABLE TRUST        agre20031001 Financial Advisor's Contract with Wedge and Carlos Kepke                                             O
                                                  corp20031002 Original Barrier Investments Membership Certificate No. 1                                            O
                                                  trst20031001 Trust Indenture (2 originals)                                                                        O
                                                  trst20031002 Trustee Memorandum No. 1 re Share Transfer to Barrier                                                O
                                                  corp20031001 Barrier Investments Certificate of Formation - copy                                                  C
                                                  corp20031001 Larch Holdings Certificate of Formation - copy                                                       C
                                                  corp20030924 Pinnacle Holdings Certificate renewal - copy                                                         C
                                                  agre20031001 Option Agreement between Pinnacle Holdings and RTB re Larch Shares (2 originals)                     O
                                                  agre20031001 Option Agreement between Pinnacle Holdings and RTBII re Larch Shares (2 originals)                   O
                                                  agre20031001 Option Agreement between Pinnacle Holdings and DKB re Larch Shares (2 originals)                     O
                                                  agre20031001 Option Agreement between Pinnacle Holdings and Robert Fennell re Larch Shares (2 originals)          O
                                                  agre20031001 Option Agreement between Pinnacle Holdings and Andrea Brockman re Larch Shares (2 originals)         O
                                                  agre20031001 Option Agreement between Pinnacle Holdings and Christopher Brockman re Larch Shares (2 originals)    O


APOPSHE020   BARRIER INVESTMENTS LLC              agre20031001 Barrier Consultant Agreement with Wedge Consulting                                                   O
                                                  corp20031001 Barrier Articles of Organization                                                                     O
                                                  corp20031001 Barrier Certificate of Formation                                                                     O


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                                                corp20031001 Barrier Certificate of Notary Public                                                                O
                                                corp20031001 Barrier Designation and Acceptance of Registered Agent                                              O
                                                corp20031001 Barrier Endorsement Certificate                                                                     O
                                                corp20031001 Barrier Minutes of Organizational Meeting of the Organizer                                          O
                                                corp20031001 Barrier Operating Agreement                                                                         O
                                                corp20031001 Resignation of Organization Rights                                                                  O
                                                corp20040817 Barrier Certificate of Renewal 2004                                                                 O
                                                corp20050607 Barrier Certificate of Renewal 2005                                                                 O
                                                corp20061012 Barrier Certificate of Renewal 2006                                                                 O
                                                corp20070630 Barrier Holdings LLC Amended Operating Agreement (2 copies)                                         O
                                                corp20070630 Barrier Holdings LLC Member's Written Resolutions re New Operating Agreement and Various Matters    O
                                                corp20070630 Barrier Holdings LLC Membership Certificate No. 2 Issued to Willow for the Shetland Trust           O
                                                corp20070630 Barrier Holdings LLC Register of Managers and Officers                                              O
                                                corp20070630 Barrier Holdings LLC Register of Members                                                            O
                                                corp20070828 Barrier Certificate of Renewal 2007-2008                                                            O
                                                corp20080725 Barrier Holdings LLC Certificate of Renewal 2008-2009                                               O
                                                corp20090915 Barrier Investments LLC Nevis Certificate of Renewal 2009-2010                                      O


APOPWOR010 THE WORLDWIDE CHARITABLE TRUST       agre20010215 Financial Advisor's Contract with Financial Counselors and Carlos Kepke                             O
                                                agre20011231 Novation Agreement with Wedge Consulting and Carlos Kepke                                           O
                                                trst19970619 The Worldwide Charitable Trust Indenture                                                            O
                                                trst19970619 The Worldwide Charitable Trust Indenture - copy                                                     C
                                                trst19980421 Memorandum of Appointment to Trust                                                                  O
                                                trst20050000 Letter of Resignation as Protector of The Worldwide Trust                                           O
                                                corr19940822 Letter from Grosvenor to DJ re Trust Indenture                                                      O
                                                trst20070618 The Worldwide Charitable Trust Trustee's Resolutions re Various Edge Transactions                   O


APROTEC010 AQUITAINE PROTECTORS LTD             corp19970508 Aquitaine Articles of Association for Cayman Incorporation                                          O
                                                corp19970508 Aquitaine Memorandum of Association for Cayman Incorporation                                        O
                                                corp19970512 Aquitaine Certificate of Incorporation                                                              O
                                                corp19970520 Aquitaine Copy Share Certificate No. 1 to Trevor Lloyd                                              C
                                                corp19970520 Aquitaine Minutes of the Meeting of Directors on Incorporation                                      O
                                                corp19970520 Aquitaine Minutes of the Meeting of the Subscribers                                                 O
                                                corp19970520 Aquitaine Register of Members before Name Change                                                    C
                                                corp19970529 Aquitaine Certificate of Incorporation on Change of Name                                            O
                                                corp19970529 Aquitaine Minutes of the Meeting of the Subscribers                                                 O
                                                corp19970529 Aquitaine Original Share Certificate No. 2 to Trevor Lloyd                                          O
                                                corp19970529 Aquitaine Register of Directors and Officers                                                        C
                                                corp20020712 Application for Transfer of Domicile to Nevis                                                       O
                                                corp20020712 Letter from Aquitaine to the Cayman Registrar of Companies Giving Notice of Change to Articles      C
                                                corp20020712 Minutes of Shareholders' Meeting re Amendment to Articles                                           C


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                                               corp20020801 Cayman Certificate of Incorporation on 12 May 1997                           C
                                               corp20020816 Certificate of Transfer of Domicile to Nevis                                 O
                                               corp20020816 Designation and Acceptance of Registered Agent from Morning Star Holdings    O
                                               corp20020816 Endorsement Certificate on Transfer of Domicile                              O
                                               corp20050000 Signed Undated Share Transfer Form for Aquitaine                             O
                                               corp20050404 Aquitaine Certificate of Renewal 2005                                        O
                                               corr20000530 Letter from Aquitaine Protectors to DJ re Letters of Resignation             O
                                               corr20020510 Email from Carlos Kepke to DJ re Protector Company Ownership                 C
                                               trst19981208 Letter of Resignation as Protector of The Challenge Trust                    O
                                               trst20050000 Letter of Resignation as Protector of Aberdeen Trust                         O
                                               trst20050000 Letter of Resignation as Protector of The Challenge Charitable Trust         O
                                               trst20050000 Letter of Resignation as Protector of Challenge Charitable Trust             O
                                               trst20050000 Letter of Resignation as Protector of AEBCT                                  O
                                               trst20050000 Letter of Resignation as Protector of The Maritime Charitable Trust          O
                                               trst20050000 Letter of Resignation as Protector of The Maritime Charitable Trust 2        O
                                               trst20050000 Letter of Resignation as Protector of AEBGCT                                 O
                                               trst20050000 Letter of Resignation as Protector of AEBGCT 2                               O
                                               trst20050000 Letter of Resignation as Protector of The Lineage Charitable Trust           O
                                               trst20050000 Letter of Resignation as Protector of The Lineage Charitable Trust 2         O
                                               trst20050000 Letter of Resignation as Protector of The Service Charitable Trust           O
                                               trst20050000 Letter of Resignation as Protector of The Service Charitable Trust II        O
                                               trst20050000 Letter of Resignation as Protector of The Endowment Charitable Trust         O
                                               trst20050000 Letter of Resignation as Protector of The Endowment Charitable Trust 2       O
                                               trst20050000 Letter of Resignation as Protector of The Benevolent Charitable Trust        O
                                               trst20050000 Letter of Resignation as Protector of The Benevolent Charitable Trust 2      O
                                               trst20050000 Letter of Resignation as Protector of The Heritage Charitable Trust          O
                                               trst20050000 Letter of Resignation as Protector of The Worldwide Charitable Trust         O
                                               trst20050000 Letter of Resignation as Protector of The Worldwide Charitable Trust 2       O
                                               trst20050000 Letter of Resignation as Protector of The Provident Charitable Trust         O
                                               trst20050000 Letter of Resignation as Protector of The Aberdeen Charitable Trust          O
                                               trst20050000 Letter of Resignation as Protector of The Philanthropic Charitable Trust     O
                                               trst20050000 Letter of Resignation as Protector of The Enterprise Charitable Trust        O


APROTEC020 APPANAGE PROTECTORS LTD             corp20050404 Appangae Certificate of Renewal                                              O


APROTEC030 PARAGON PROTECTORS LTD              corp19980211 Paragon Articles of Incorporation                                            O
                                               corp19980211 Paragon Bylaws                                                               O
                                               corp19980211 Paragon Certificate of Incorporation                                         O
                                               corp19980211 Paragon Certificate of Notary Public                                         O
                                               corp19980211 Paragon Designation and Acceptance of Registered Agent                       O
                                               corp19980211 Paragon Endorsement Certificate                                              O


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                                                    corp19980211 Paragon Transfer of Subscription Rights                                              O
                                                    corp19980211 Sepet LLC Resignation of Organization Rights                                         O
                                                    corp19980211 Transfer of Subscription Rights to Paragon                                           O
                                                    corp20030924 Paragon Certificate of Renewal 2003                                                  O
                                                    corp19980211 Paragon Bearer Share Certificate No. 1                                               O
                                                    corp20051027 Original Paragon Protectors Certificate of Renewal 2005                              O
                                                    corr20030507 Letter from NTL Trust to DJ re Paragon                                               C
                                                    corr20030610 Letter from DJ to NTL Trust                                                          C
                                                    corp20050000 Signed Undated Resignation by Steve Jernigan as Managing Director of Paragon         O
                                                    corp20050000 Signed Undated Share Transfer Form for Paragon                                       O
                                                    trst20050000 Signed Undated Letter of Resignation by Paragon as Protector of Companion Trust      O
                                                    trst20050000 Signed Undated Letter of Resignation by Paragon as Protector of Companion Trust 2    O
                                                    trst20050000 Signed Undated Letter of Resignation by Paragon as Protector of Companion Trust 3    O


SAEBCTX040 SPANISH STEPS HOLDINGS (MALTA) LTD


SAEBCTX050 MULLERY INVESTMENTS LTD


SAEBCTX060 MULLERY INVESTMENTS LLC


SAEBCTX070 HURST PROPERTIES LTD


SAEBCTX080 HURST PROPERTIES LLC


SAEBCTX090 HURST PROPERTIES (MALTA) LTD


SAEBCTX100 SARACEN INVESTMENTS LTD


SAEBCTX110 SARACEN INVESTMENTS LLC


SAEBCTX120 SARACEN INVESTMENTS (MALTA) LTD


SAEBCTX130 BOOTHFERRY PARK INVESTMENTS LTD


SAEBCTX140 BOOTHFERRY PARK INVESTMENTS LLC


SAEBCTX150 HUNT INVESTMENTS LLC


SAEBCTX160 HUNT INVESTMENTS LTD


SBELHER040   HERITAGE CHARITABLE TRUST              trst19900223 Heritage Charitable Trust Indenture                                                  O


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                                                      agre19900315 Assumption Agreement between Heritage and AEBCT                                   O
                                                      corr19900504 Letter from Margraves & Schueller to RTB                                          O


SBELHER050   KOJAK HOLDINGS LTD


SBELHER060   TABBIN INVESTMENTS LTD


SBELHER070   MASTER INVESTMENTS LTD


SBELPRO040   PROVIDENT CHARITABLE TRUST


SCAYGIL010   JILTEC LIMITED


SCAYGIL020   S.F.L. LTD


SGUEWOR010 WORLDWIDE HUNGER FUND CHARITABLE TRUST     trst19930520 The Worldwide Hunger Fund Charitable Trust Deed                                   C


SJONEVE060   EVERGREEN CHARITABLE TRUST


SJONEVE070   FINANCIAL COUNSELORS LTD


SJONOXF030   INVIEW DEVELOPMENT LTD (BVI)             agre20010110 Consultant Agreement with Financial Counselors                                    O
                                                      agre20011031 Assignment of several Contracts from Inview Bermuda to Inview BVI                 O
                                                      agre20011031 Assignment of VEFII Administration Agreement from Inview Bermuda to Inview BVI    O
                                                      agre20011231 Novation Agreement with Wedge Consulting                                          O
                                                      corp20000901 Director's Resolutions on Incorporation                                           O
                                                      corp20000901 Inview BVI Articles of Association                                                O
                                                      corp20000901 Inview BVI Memorandum of Association                                              O
                                                      corp20000901 Inview Certificate of Incorporation                                               O
                                                      corp20000901 Subscriber's Resolution appointing Director                                       O


SMALGOO040 LITTLE SISTERS TRUST


SMALGOO050 NORDIC LICENSING A/S


SMANAGE130 LEGACY CHARITABLE TRUST


SMANAGE140 JINX INVESTMENT HOLDINGS LTD


SMANAGE150 JINX INVESTMENT HOLDINGS LLC




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SMANAGE160 ANNIS INVESTMENT HOLDINGS LTD


SMANAGE170 ANNIS INVESTMENT HOLDINGS LLC


SMANAGE180 KETCHAM HOLDINGS LTD


SMANAGE190 KETCHAM HOLDINGS LLC


SMANAGE200 LABYRINTH INVESTMENT HOLDINGS LTD


SMANAGE210 LABYRINTH INVESTMENT HOLDINGS LLC


SMANAGE220 KVETCH HOLDINGS LTD


SMANAGE230 KVETCH HOLDINGS LLC


SMASCTX040 PACER INVESTMENTS LLC


SMASLCM080 REKA CORPORATION LTD                  agre19910307 Consultant Agreement with Financial Counselors                          O
                                                 agre20011231 Novation Agreement with Wedge Consulting                                O
                                                 corp19910306 Memorandum of Association Amended and Restated 30 August 1995           O
                                                 corp19910306 Copy Certificate of Incorporation                                       C
                                                 corp19910306 Articles of Association Amended and Restated 30 August 1995             O
                                                 corp19911129 Directors' Resolutions on Incorporation                                 C
                                                 corp19911129 Subscriber's Memorandum on Election of First Directors                  C
                                                 corp19920410 Director's Resolution re Resignation of Director                        C
                                                 corp19940517 Reka Corp Ltd Director's Written Resolutions re Share Transfer          C
                                                 corp19950801 Director's Resolution re Registered Office and Registered Agent         C
                                                 corp19950801 Director's Written Resolutions re Share Transfer from Rose to Skye      C
                                                 corp19950802 Director's Resolution re Resignation of Secretary and Directors         C
                                                 corp19950803 Director's Resolution re Appointment of Further Directors               C
                                                 corp19950830 Cancelled Original Share Certificate issued to Skye Nominees            O
                                                 corp19950830 Minutes of Directors' Meeting re Share Issue                            C
                                                 corp19960201 Appointment of Alternate Director 2                                     C
                                                 corp19960201 Appointment of Alternate Director                                       C
                                                 corp19960201 Minutes of Directors' Meeting re Change of Director                     O
                                                 corp19970306 Certificate of Good Standing                                            O
                                                 corp19980325 Certificate of Good Standing                                            O
                                                 corp20000901 Original Advertising Services Ltd Share Certificate issued to Bearer    O
                                                 corp20010619 Letter of Resignation as Director from Lesley Wollmann                  C
                                                 corp20010619 Reka Directors' Resolutions re Change of Director to Screen             C


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                                                      corp20010628 Director's Written Resolutions re Share Transfer to Reka LLC                             O
                                                      corp20030228 Director's Resolution approving Share Transfer from Reka LLC to Fairway Enterprises 2    O
                                                      corp20030228 Director's Resolution approving Share Transfer from Reka LLC to Fairway Enterprises      O
                                                      corp20030228 Share Transfer Form from Reka LLC to Fairway Enterprises                                 O


SPOPENT020   ENTERPRISE CHARITABLE TRUST              trst19970625 The Enterprise Charitable Trust Indenture                                                C


SPOPENT030   PATRON HOLDINGS LLC


SPOPENT040   TOTAL INVESTMENTS LTD


SPOPENT050   THRESHOLD VENTURE LTD


SPOPENT060   SOURCENET SOLUTIONS INC


SPOPENT070   CHALLENGE CHARITABLE TRUST               trst19981015 Challenge Charitable Trust Indenture (2 copies)                                          C
                                                      corr19981023 Letter from Carlos Kepke to DJ                                                           C


SPOPLIN030   THE LINEAGE CHARITABLE TRUST


SPOPLIN040   TRUST INSURANCE LIMITED


SPOPLIN050   LINEAGE CHARITABLE TRUST                 trst19921224 Lineage Charitable Trust Indenture                                                       O
                                                      agre19921229 Deed of Transfer betweeb AEBGCT and Lineage                                              C


SPOPMAR040 MARITIME CHARITABLE TRUST                  trst19910927 Maritime Charitable Trust Indenture                                                      O
                                                      corr19911010 Letter from Carlos Kepke to DJ re Trust Indenture                                        O
                                                      corr19930823 Letter from Carlos Kepke to Baring Brothers                                              O
                                                      corr19930903 Letter from Carlos Kepke to Baring Brothers                                              O
                                                      corr19921202 Letter from Baring Brothers to Carlos Kepke                                              C
                                                      trst19921112 Order of the Royal Court of Guernsey                                                     C


SPOPPHI010   PHILANTHROPIC CHARITABLE TRUST           trst19940921 Philanthropic Charitable Trust Indenture                                                 O


SPOPPHI020   THE PHILANTHROPIC CHARITABLE TRUST       trst19970625 The Philanthropic Charitable Trust Indenture                                             C


SPOPPHI030   SANTA'S INVESTMENT HOLDING LLC


SPOPPHI040   SANTA'S INVESTMENT HOLDING LTD


SPOPPHI050   KNOX LICENSING LTD



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SPOPSER090   THE SERVICE CHARITABLE TRUST             trst19950807 The Service Charitable Trust Indenture               O
                                                      corr19950809 Letter from Carlos Kepke to DJ                       O


SPOPWOR020 WORLDWIDE CHARITABLE TRUST                 trst19940819 Worldwide Charitable Trust Indenture                 C




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